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                           EXHIBIT A

                         Fourth Amended
                           Complaint
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20
      CHASOM BROWN, WILLIAM BYATT,                     Case No. 4:20-cv-03664-YGR-SVK
21    JEREMY DAVIS, CHRISTOPHER
      CASTILLO, and MONIQUE TRUJILLO,                  FOURTH AMENDED COMPLAINT
22    individually and on behalf of all other
      similarly situated,                              CLASS ACTION FOR
23                                                     (1) FEDERAL WIRETAP VIOLATIONS,
                                Plaintiffs,            18 U.S.C. §§ 2510, ET. SEQ.;
24                                                     (2) INVASION OF PRIVACY ACT
         v.                                            VIOLATIONS, CAL. PENAL CODE §§ 631
25                                                     & 632;
      GOOGLE LLC,                                      (3) VIOLATIONS OF THE
26                                                     COMPREHENSIVE COMPUTER DATA
                                Defendant.             ACCESS AND FRAUD ACT (“CDAFA”),
27                                                     CAL. PENAL CODE §§ 502 ET SEQ.
                                                       (4) INVASION OF PRIVACY;
28



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 1                                       (5) INTRUSION UPON SECLUSION;
                                         (6) BREACH OF CONTRACT; AND
 2                                       (7) VIOLATION OF CA UCL, CAL BUS. &
                                         PROF. CODE §§ 17200, ET. SEQ.
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 4                                       DEMAND FOR JURY TRIAL
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 1                        FOURTH AMENDED CLASS ACTION COMPLAINT

 2          Plaintiffs Chasom Brown, William Byatt, Jeremy Davis, Christopher Castillo, and Monique

 3   Trujillo, individually and on behalf of all others similarly situated, file this Fourth Amended Class

 4   Action Complaint against defendant Google LLC (“Google” or “Defendant”), and in support state

 5   the following.

 6                                         INTRODUCTION
           “I want people to know that everything they’re doing online is being watched, is being
 7              tracked. Every single action you take is carefully monitored and recorded.”
 8                           -Jeff Seibert; Former Head of Consumer Product of Twitter1

 9          1.        This lawsuit concerns Google’s surreptitious interception and collection of personal

10   and sensitive user data while users are in a “private browsing mode.” Google does this without

11   disclosure or consent of users, to profile Plaintiffs and other class members. As a result, from this

12   data, Google reaps billions of dollars in profits each year.

13          2.        Since June 1, 2016 (the “Class Period”), Google has represented that users are “in

14   control of what information [they] share with Google,” meaning that they have the power to limit

15   what data Google tracks, collects, and shares with third parties. Google has represented that one

16   way for users to exercise this “control” is by setting their web-browsing software (used to connect

17   to websites) to “private browsing mode.”

18          3.        Based on Google’s representations, Plaintiffs and Class members reasonably

19   believed that their data would not be collected by Google and that Google would not intercept their

20   communications when they were in “private browsing mode.”

21          4.        Google’s representations were and are false. Throughout the Class Period, Google

22   unlawfully intercepted users’ private browsing communications to collect personal and sensitive

23   information concerning millions of Americans, without disclosure or consent.

24          5.        Google intercepts and collects this data by causing the user’s web browsing software

25   to run Google software scripts (bits of code) that replicate and send the data to Google servers in

26   California. These Google software “scripts” do this even if the user is not engaged with any Google

27
     1
28    Jeff Orlowski, Davis Coombe, Vickie Curtis, and Larissa Rhodes, The Social Dilemma,
     https://www.netflix.com/title/81254224?s=i&trkid=13747225 (Jan. 2020).


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 1   site or functionality and even when the user is in a private browsing mode. These Google software

 2   scripts give no notice to the user of Google’s data collection methods.

 3          6.      Google only recently admitted that it engages in these practices, after Plaintiffs filed

 4   their Complaint and in its motion to dismiss. Google previously represented and led users (and

 5   regulators) to believe – falsely – that users could limit Google’s data collection practices by setting

 6   their web-browsing software to private browsing mode.

 7          7.      In response to this lawsuit, Google has not disputed that it engages in these

 8   interceptions and data collection and instead awkwardly claimed that it fully disclosed what it is

 9   doing, and that it therefore has consent to engage in this conduct. Just the opposite is true, as is

10   demonstrated by materials Google itself has cited as the basis for its purported disclosures and

11   consent, as explained below.

12          8.     Google accomplishes its surreptitious interception and data collection through means

13   that include Google Analytics, Google “fingerprinting” techniques, concurrent Google applications

14   and processes on a consumer’s device, and Google’s Ad Manager. More than 70% of all online

15   publishers (websites) use one or more of these Google services. When a user’s web-browsing

16   software accesses one of those websites, hidden Google software “scripts” cause the user’s device to

17   send detailed, personal information to Google’s servers, including the private browsing

18   communications between the user and the website. This includes the contents of the webpage being

19   requested and the URL viewed.

20          9.      Google’s practices infringe upon users’ privacy; intentionally deceive consumers;

21   give Google and its employees power to learn intimate details about individuals’ lives, interests,

22   and internet usage; and make Google “one stop shopping” for any private, government, or criminal

23   actor who wants to undermine individuals’ privacy, security, and freedom.

24          10.     Through its pervasive data tracking business, Google knows who your friends are,

25   what your hobbies are, what you like to eat, what movies you watch, where and when you like to

26   shop, what your favorite vacation destinations are, what your favorite color is and even the most

27   intimate and potentially embarrassing things you browse on the internet—regardless of whether you

28   follow Google’s advice to keep your activities “private.” Notwithstanding consumers’ best efforts,



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 1   to keep their activities on the internet private, Google has made itself an unaccountable trove of

 2   information so detailed and expansive that George Orwell could never have dreamed it.

 3                                            THE PARTIES

 4          11.     Plaintiffs are Google subscribers whose internet use was tracked by Google during the

 5   Class Period, starting on June 1, 2016 and ongoing, while browsing the internet from a browser in a

 6   private browsing mode. They bring federal and California state law claims on behalf of other

 7   similarly-situated Google users in the United States (the “Classes” defined in Paragraph 192,

 8   hereinafter the members of both Classes are referred to as “Class members”) arising from Google’s

 9   knowing and unauthorized interception and tracking of users’ internet communications and activity,

10   and knowing and unauthorized invasion of consumer privacy.

11          12.     Plaintiff Mr. Chasom Brown (“Brown”) is an adult domiciled in Los Angeles,

12   California. Brown had an active Google account during the entire Class Period.

13          13.     Plaintiff Mr. William Byatt (“Byatt”) is an adult domiciled in Florida. Byatt had an

14   active Google account during the entire Class Period.

15          14.     Plaintiff Mr. Jeremy Davis (“Davis”) is an adult domiciled in Arkansas. Davis had

16   an active Google account during the entire Class Period.

17          15.     Plaintiff Mr. Christopher Castillo (“Castillo”) is an adult domiciled in California.

18   Castillo had an active Google account during the entire Class Period.

19          16.     Plaintiff Ms. Monique Trujillo (“Trujillo”) is an adult domiciled in California.

20   Trujillo had an active Google account during the entire Class Period.

21          17.     Defendant Google is a Delaware limited liability company with a principal place of

22   business at what is officially known as The Googleplex, 1600 Amphitheatre Parkway, Mountain

23   View, California 94043. Google regularly conducts business throughout California and in this

24   judicial district. Google is one of the largest technology companies in the world and conducts

25   product development, search, and advertising operations in this district.

26                                   JURISDICTION AND VENUE
27          18.     This Court has personal jurisdiction over Defendant because Google’s principal

28   place of business is in California.      Additionally, Defendant is subject to specific personal



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 1   jurisdiction in this State because a substantial part of the events and conduct giving rise to Plaintiffs’

 2   and Class members’ claims occurred in this State, including Google servers in California receiving

 3   the intercepted communications and data at issue, and because of how employees of Google in

 4   California reuse the communications and data collected.

 5           19.     This Court has subject matter jurisdiction over the federal claims in this action,

 6   namely the Federal Wiretap Act, 18 U.S.C. § 2511 (the “Wiretap Act”) pursuant to 28 U.S.C.

 7   § 1331.

 8           20.     This Court has subject matter jurisdiction over this entire action pursuant to the Class

 9   Action Fairness Act (“CAFA”), 28 U.S.C. § 1332(d), because this is a class action in which the

10   amount in controversy exceeds $5,000,000, and at least one Class member is a citizen of a state

11   other than California or Delaware.

12           21.     This Court also has supplemental jurisdiction over the state law claims in this action

13   pursuant to 28 U.S.C. § 1367 because the state law claims form part of the same case or controversy

14   as those that give rise to the federal claims

15           22.     Venue is proper in this District because a substantial portion of the events and actions

16   giving rise to the claims in this matter took place in this judicial District. Furthermore, Google is

17   headquartered in this District and subject to personal jurisdiction in this District.

18           23.     Intradistrict Assignment. A substantial part of the events and conduct which give rise

19   to the claims herein occurred in Santa Clara County.

20                       FACTUAL ALLEGATIONS REGARDING GOOGLE
21
     I.      Google’s History of Privacy Violations & Its Agreement with the FTC
22
             24.     Google’s violation of consumers’ privacy rights is not new – it has been persistent
23
     and pervasive for at least a decade.
24
             25.     In 2010, the FTC charged that Google “used deceptive tactics and violated its own
25
     privacy promises to consumers when it launched its social network, Google Buzz.” To settle the
26

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 1   matter, the FTC barred Google “from future privacy misrepresentations” and required Google “to

 2   implement a comprehensive privacy program.”2

 3          26.     In 2011, Google entered into a consent decree with the FTC (the “Consent Decree”),

 4   effective for 20 years, in which the FTC required and Google agreed as follows (emphasis added):

 5                  IT IS ORDERED that [Google], in or affecting commerce, shall not
                    misrepresent in any manner, expressly or by implication:
 6
                    A. the extent to which [Google] maintains and protects the privacy and
 7                  confidentiality of any covered information, including, but not limited to,
                    misrepresentations related to: (1) the purposes for which it collects and uses
 8                  covered information, and (2) the extent to which consumers may exercise
                    control over the collection, use, or disclosure of covered information.3
 9

10          27.     This requirement applies to the Google conduct at issue in this lawsuit, as the Consent

11   Decree broadly defines “covered information” to include information Google “collects from or about

12   an individual” including a “persistent identifier, such as IP address,” and combinations of additional

13   data with the same.

14          28.     Just one year after the Consent Decree was entered, the FTC found that Google had

15   already violated the Consent Decree, by way of Google’s misrepresentations regarding what

16   consumer data it would and would not collect with the Safari web browser. In an August 2012 press

17   release, the FTC explained:

18                  Google Inc. has agreed to pay a record $22.5 million civil penalty to settle
                    Federal Trade Commission charges that it misrepresented to users of
19                  Apple Inc.’s Safari Internet browser that it would not place tracking
                    “cookies” or serve targeted ads to those users, violating an earlier privacy
20                  settlement between the company and the FTC.
21                  The settlement is part of the FTC’s ongoing efforts make sure companies
                    live up to the privacy promises they make to consumers, and is the largest
22                  penalty the agency has ever obtained for a violation of a Commission
                    order. In addition to the civil penalty, the order also requires Google to
23                  disable all the tracking cookies it had said it would not place on
                    consumers’ computers.
24
                    “The record setting penalty in this matter sends a clear message to all
25                  companies under an FTC privacy order,” said Jon Leibowitz, Chairman of
26
     2
       https://www.ftc.gov/news-events/press-releases/2011/03/ftc-charges-deceptive-privacy-
27   practices-googles-rollout-its-buzz.
     3
28     https://www.ftc.gov/sites/default/files/documents/cases/2011/03/110330googlebuzzagreeorder.p
     df.


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                    the FTC. “No matter how big or small, all companies must abide by FTC
 1                  orders against them and keep their privacy promises to consumers, or they
                    will end up paying many times what it would have cost to comply in the
 2                  first place.”4
 3
            29.     Since 2012, a number of federal, state, and international regulators have similarly
 4
     accused Google of violating its promises to consumers on what data it would and would not collect,
 5
     with Google failing to obtain consent for its conduct.
 6
            30.     In September 2016, when Google updated its browser app for Apple iOS, Google
 7
     wrote that users would have “[m]ore control with incognito mode” and “Your searches are your
 8
     business. That’s why we’ve added the ability to search privately with incognito mode in the Google
 9
     app for iOS. When you have incognito mode turned on in your settings, your search and browsing
10
     history will not be saved.”5 Google made no statements about how users’ privacy would actually
11
     be limited in these private browsing sessions and avoided for years what it now claims (as a result
12
     of this litigation shining the light on its practices): that users never had the privacy they were
13
     promised.
14
            31.     Similarly, in May 2018, Google modified its privacy policy to state, “[y]ou can use
15
     our services in a variety of ways to manage your privacy. . . . You can also choose to browse the
16
     web privately using Chrome in Incognito mode.”6
17
            32.     Nonetheless, in 2019, Google and YouTube agreed to pay $170 million to settle
18
     allegations by the Federal Trade Commission and the New York Attorney General that YouTube
19
     video sharing services illegally collected personal information from children without their parents’
20
     consent.
21
            33.     Then, in June 2020, France’s Highest Administrative Court upheld a 50 million Euro
22
     fine against Google based on its failure to provide clear notice and obtain users’ valid consent to
23
     process their personal data for ad personalization purposes.
24

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26   4
       https://www.ftc.gov/news-events/press-releases/2012/08/google-will-pay-225-million-settle-
     ftc-charges-it-misrepresented.
27   5
       https://www.googblogs.com/the-latest-updates-and-improvements-for-the-google-app-for-ios/.
28   See also, https://search.googleblog.com/index.html.
     6
       https://policies.google.com/privacy/archive/20171218-20180525?hl=en-US.


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 1          34.     There are ongoing proceedings by the Arizona Attorney General and the Australian

 2   Competition and Consumer Commission alleging Google’s failure to obtain consent regarding its

 3   collection of location data and its decision to combine certain user data.

 4          35.     In the Arizona Attorney General action, Google has produced documents

 5   establishing “overwhelming” evidence that “Google has known that the user experience they

 6   designed misleads and deceives users.”

 7          36.     Google’s employees made numerous admissions in internal communications,

 8   recognizing that Google’s privacy disclosures are a “mess” with regards to obtaining “consent” for

 9   its data collection practices and other issues relevant in this lawsuit. Those documents are heavily

10   redacted by Google, and include for example the following comments and questions by Google

11   employees:

12                  a.      “Do users with significant privacy concerns understand what data we are

13                          saving?”

14                  b.      “[T]ake a look at [redacted by Google] – work in progress, trying to rein

15                          in the overall mess that we have with regards to data collection, consent,

16                          and storage.”

17                  c.      “[A] bunch of other stuff that’s super messy. And it’s a Critical User

18                          Journey to make sense out of this mess.”

19          37.     Those internal documents are not limited to location data, and unredacted versions

20   of those documents and other internal Google documents will further demonstrate and confirm the

21   lack of consent for the Google conduct at issue in this lawsuit.

22          38.     And in an ongoing Australia proceeding, the Australian Competition & Consumer

23   Commission (“ACCC”) alleges that “Google misled Australian consumers to obtain their consent

24   to expand the scope of personal information that Google could collect and combine about

25   consumers’ internet activity, for use by Google, including for targeted advertising.”7 The ACCC

26
     7
      https://www.accc.gov.au/media-release/correction-accc-alleges-google-misled-consumers-
27   about-expanded-use-of-personal-
28   data#:~:text=The%20ACCC%20has%20launched%20Federal,Google%2C%20including%20for
     %20targeted%20advertising.


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 1   contends that Google “misled Australian consumers about what it planned to do with large amounts

 2   of their personal information, including internet activity on websites not connected to Google.”8

 3   II.         Google’s Privacy Policy, Privacy “Controls,” and “Incognito Screen” Each Falsely
                 State that Users Can Prevent Google’s Collection By Using “Private Browsing
 4
                 Mode”
 5               39.       The public, legislators, and courts have become increasingly aware of online threats
 6   to consumer privacy—including threats posed by powerful technology companies like Google that
 7   have become household names.
 8               40.       To comply with the new laws like the California Consumer Privacy Act (the
 9   “CCPA”) and Europe’s General Data Privacy Regulation (the “GDPR”) and to comply with the
10   Consent Decree, Google has repeatedly represented (throughout the Class Period) that users have
11   control over what information is shared with Google and that users can prevent Google from
12   tracking their browsing history and collecting their personal data online.
13               41.       During the Class Period, Plaintiffs and Class members had a reasonable expectation
14   of privacy while they were using a private browser mode. Specifically, Plaintiffs and Class
15   members expected that, when they were using a browser in “private browsing mode,” Google (a)
16   would not collect the data described below in Paragraphs 63 through 66, and 78 through 83, and (b)
17   would not thereafter use the data, collected during “private browsing mode,” for all of the purposes
18   described below.
19               42.       This expectation of privacy was reasonable because of Google’s own statements
20   regarding “private browsing modes” as described below, including the following:
21                        “You’re in control of what information you share with Google . . . .”
22                        “You can use our services in a variety of ways to manage your privacy . . . across
23                         our services, you can adjust our privacy settings to control what we collect and
24                         how your information is used.”
25                        “You can also choose to browse the web privately using Chrome in Incognito
26                         mode.”
27

28   8
         Id.


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 1                    “Your search and ad results may be customized using search-related activity even

 2                     if you’re signed out. To turn off this kind of search customization, you can search

 3                     and browse privately.”

 4                    “To browse the web privately, you can use private browsing, sign out of your

 5                     account, change your custom results settings, or delete past activity.”

 6                    “Your searches are your business. . . . When you have incognito mode turned on

 7                     in your settings, your search and browsing history will not be saved.”

 8   Importantly, Google did not represent in any disclosure to Plaintiffs or Class members that it

 9   would continue to intercept, track, and collect communications even when they used a browser

10   while in “private browsing mode.”

11           43.       Throughout the Class Period, Google never notified Plaintiffs that Google would

12   intercept users’ communications while in a private browsing mode, and that Google was doing so

13   for purposes of creating user profiles or providing targeted advertisings. Google’s representations

14   instead misled Plaintiffs and Class members into believing that their communications during private

15   browsing were not intercepted and used to create user profiles or provide targeted advertising.

16           A.        Privacy Policy
17           44.       In Google’s Privacy Policy (the “Privacy Policy”), throughout the Class Period,

18   Google made numerous representations about how users can “control” the information users share

19   with Google and how users can browse the web anonymously and without their communications

20   with websites being intercepted.

21           45.       Google’s Privacy Policy starts by stating in the Introduction section that “you can

22   adjust your privacy settings to control what we collect and how your information is used” and that

23   “[y]ou can choose to browse the web privately using Chrome in Incognito mode”:

24

25

26

27   //

28   //



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 1           46.    The front and center of the “choices” offered to consumers is “Your privacy

 2   controls” on the Privacy Policy. Here, Google reiterates, “[y]ou have choices regarding the

 3   information we collect and how it’s used.” On the “My Activity” section of this part of the Privacy

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10   Policy, Google reiterates that “My Activity allows you to review and control data that’s created

11   when you use Google services, like searches you’ve done.”

12           B.     Privacy “Controls”
13           47.    Users interested in controlling what Google collects are directed to the “Control Panel”

14   of this same Privacy Policy, where Google assures users that “[t]o browse the web privately, you can

15   use private browsing” and that “[i]f you want to search the web without saving your search activity

16   to your account, you can use private browsing mode in a browser (like Chrome or Safari).”9 When

17   users click on “Go to My Activity” to control their data, they are presented with the option to “Learn

18   more.” When users click on “Learn more,” they are taken to a page where they are supposed to be

19   able to “View & control activity in your account.” On that page, Google states that you may “[s]top

20   saving activity temporarily. . . . You can search and browse the web privately,” embedding a

21   hyperlink to the “Search & Browse Privately” page.10

22           48.    On the “Search & Browse Privately” page, Google once again reiterates that the user,

23   not Google, is “in control of what information [a user] . . . share[s] with Google . . . .” Google states

24   simply that consumers enabling “private browsing mode” on their browsers will allow consumers

25   to “browse the web privately”:

26
     9
      https://support.google.com/websearch/answer/4540094?.
27   10
        See SEARCH & BROWSE PRIVATELY,
28   https://support.google.com/websearch/answer/4540094?hl=en&ref_topic
     =3036132 (last visited May 29, 2020).


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13   There is nothing on this page about Google Analytics, Google Ad Manager, any other Google data
14   collection tool, or where and which websites online implement such data collection tools.
15           49.   From the “View & control activity in your account” page referenced above, a
16   consumer can also click the link, “See & control your Web & App Activity” on the right-hand
17   side.11 On that page, Google again represents that searching and browsing in “private browsing
18   mode” will “turn off” any “search customization” “using search-related activity”:
19

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             50.   When users click the “Learn how” link, they are again redirected back to the “Search
23
     & Browse Privately” page. In other words, because Google repeatedly touts that users can “control”
24
     the information they share with Google and Google constantly refers users back to its
25
     recommendations on how users may “browse the web privately,” users are left with only one
26

27   11
       SEE & CONTROL YOUR WEB & APP ACTIVITY, https://support.google.com/websearch/
28   answer/54068?visit_id=6372555086257257422105376128&hl=en&rd=1 (last visited May 29,
     2020).


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 1   reasonable impression—if they are searching or browsing the web in “private browsing mode,”

 2   Google will honor their request to be left alone without further Google tracking.

 3          C.      “Incognito Screen”
 4          51.     “Incognito” is Google’s name for the “private browsing mode” of Google’s own web

 5   browser software, Google Chrome.

 6          52.     Google’s first motion to dismiss relies primarily on Google’s “Incognito mode”

 7   splash screen, which appears when a user opens an Incognito session in Google’s Chrome browser

 8   (hereinafter the “Incognito Screen”). As Google conceded in its motion, the Incognito Screen

 9   appears whenever a user enters Incognito mode:

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            53.     Based on these Google representations, throughout the Class Period, Plaintiffs and
21
     Class members reasonably expected that Google would not collect their data while in Incognito
22
     mode. They reasonably understood “You’ve gone incognito” and “Now you can browse privately”
23
     to mean they could browse privately, without Google’s continued tracking and data collection.
24
     Google could have disclosed on this Incognito Screen that Google would track users and collect their
25
     data while they were browsing privately, but Google did not do that. Instead, Google included
26
     representations meant to assure users that they had “gone incognito” and could “browse privately”
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 1   with only limited exceptions, none of which disclosed Google’s own tracking and data collection

 2   practices while users were in a private browsing mode.

 3          54.     Google’s Incognito Screen is also deeply misleading for three other reasons. First,

 4   Google represents in the Incognito Screen that it “won’t save . . . [y]our browsing history . . . cookies

 5   and site data[.]” False. In fact, Google’s code continues to send the user’s browsing history and

 6   other data directly to Google’s servers during users’ private browsing sessions. Google then

 7   associates that data with the user’s “Google profile” across its services, so that Google can create,

 8   update, and monetize detailed profiles on billions of consumers.

 9          55.     Second, Google represents in the Incognito Screen that “[n]ow you can browse

10   privately, and other people who use this device won’t see your activity.” False. In fact, the session

11   is not “private” at all, and “other people who use this device” will still know what preceding users

12   did by way of targeted ads served by Google based on browsing activity that took place during the

13   “private browsing.”

14          56.     Third, Google represents in the Incognito Screen that the only entities to whom the

15   user’s “activity might still be visible” are “the websites you visit[,] [y]our employer or school[, and]

16   [y]our internet service provider[.]” False. Users’ activities are visible to Google, which continues

17   to track users, intercept their communications, and collect their data while they are in Incognito mode

18   and other private browsing modes.

19          57.     What is conspicuously absent from the Incognito Screen – and any other

20   representation by Google – is a disclosure that Google continues to track users while they are in a

21   private browsing mode. Nothing in Google’s Privacy Policy or Incognito Screen leads users to

22   believe that during private browsing Google continues to persistently monitor them, and sell their

23   browsing history and communications to other third parties. In fact, when the Privacy Policy and

24   Incognito Screen are read together, the user necessarily reaches the opposite conclusion.

25          58.     There are many other examples of Google representing during the Class Period that

26   users could control what information was shared with Google, including by using a private browsing

27   mode. For example, since May 2018, Google’s Privacy Policy has stated: “You can use our

28   services in a variety of ways to manage your privacy. . . . You can also choose to browse the web



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 1   privately using Chrome in Incognito mode.” In September 2016, Google posted about an update

 2   for the Google app for iOS, stating that users would have “[m]ore control with incognito mode” and

 3   “Your searches are your business. That’s why we’ve added the ability to search privately with

 4   incognito mode in the Google app for iOS. When you have incognito mode turned on in your

 5   settings, your search and browsing history will not be saved.”

 6           59.    Google’s representations about how it does not track users under these conditions

 7   are completely false, and contrary to the new privacy laws and its 2011 Consent Decree. Not only

 8   do consumers (including Plaintiffs and Class members) not know about what Google is doing to

 9   collect data on them, they have no meaningful way of avoiding Google’s data collection practices,

10   even if they are following Google’s instructions to “browse the web privately.”

11           D.     Plaintiffs Had a Reasonable Expectation of Privacy

12           60.    Plaintiffs’ and Class members’ expectation of privacy was reasonable, not only

13   because of Google’s various representations, but also because of survey data showing the

14   expectations of Internet users. A number of studies examining the collection of consumers’

15   personal data confirms that the surreptitious taking of personal, confidential, and private

16   information—as Google has done—violates reasonable expectations of privacy that have been

17   established as general social norms.      Privacy polls and studies uniformly show that the

18   overwhelming majority of Americans consider one of the most important privacy rights to be the

19   need for an individual’s affirmative consent before a company collects and shares a subscriber’s

20   personal data. Indeed, a recent study by Consumer Reports shows that 92% of Americans believe

21   that internet companies and websites should be required to obtain consent before selling or sharing

22   their data and the same percent believe internet companies and websites should be required to

23   provide consumers with a complete list of the data that has been collected about them.12

24           61.    Similarly, a study published in the Harvard Business Review shows that consumers

25   are largely unaware of how their personal information is used by businesses, with less than 25% of

26

27   12
       Consumers Less Confident About Healthcare, Data Privacy, and Car Safety, New Survey
28   Finds, CONSUMER REPORTS (May 11, 2017), https://www.consumerreports.org/consumer-
     reports/consumers-less-confident-about-healthcare-data-privacy-and-car-safety/.


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 1   consumers realizing that they share their communication history, IP addresses, and web-surfing

 2   history when using a standard web browser.13 It is also simply common sense that Google should

 3   not intercept or collect user communications when users are browsing in “private browsing mode,”

 4   as these steps demonstrate a clear expectation that communications under these circumstances are

 5   intended to be private or confidential.

 6            62.   Just as importantly, since 2018, states like California passed the CCPA, which

 7   requires that data collection practices be disclosed at or before the actual collection is done.14

 8   Otherwise, “[a] business shall not collect additional categories of personal information or use

 9   personal information collected for additional purposes without providing the consumer with notice

10   consistent with this section.”15

11   III.     Google Surreptitiously Intercepts Communications Between Users and Websites
              And Collects Personal and Sensitive User Data Even When the Users are in “Private
12            Browsing Mode”
13            A.    The Data Secretly Collected
14
              63.   Whenever a user (even a user in “private browsing mode,” including Plaintiffs and
15
     Class members) visits a website that is running Google Analytics or Google Ad Manager, Google’s
16
     software scripts on the website surreptitiously direct the user’s browser to send a secret, separate
17
     message to Google’s servers in California. This message contains:
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                    a.      The “GET request” sent from the user’s computer to the website. When an
19
     individual internet user visits a web page, his or her browser sends a message called a “GET
20
     request” to the webpage’s server. The GET request serves two purposes: it first tells the website
21
     what information is being requested and then instructs the website to send the information back to
22
     the user. The copy of the “GET request,” which is sent to Google, enables Google to learn exactly
23
     what content the user’s browsing software was asking the website to display. The GET request
24

25

26   13
        Timothy Morey, Theodore Forbath & Allison Shoop, Customer Data: Designing for
     Transparency and Trust, HARV. BUS. REV. (May 2015), https://hbr.org/2015/05/customer-data-
27   designing-for-transparency-and-trust.
     14
28      Cal. Civ. Section 1798.100(b). See also, Nev. Rev. Stat. Section 603A.340.
     15
        Id.


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 1   also transmits a referer header containing the URL information of what the user has been viewing

 2   and requesting from websites online;

 3                   b.     The IP address of the user’s connection to the internet;16

 4                   c.     Information identifying the browser software that the user is using,

 5   including any “fingerprint” data (as described further below, infra, at Paragraphs 100-105);

 6                   d.     Any “User-ID” issued by the website to the user, if available (as described

 7   further below, infra, at Paragraph 69);

 8                   e.     Geolocation of the user, if available (as described further below, infra, at

 9   Paragraphs 105-112); and

10                   f.     Information contained in “Google cookies,” which were saved by the user’s

11   web browser on the user’s device at any prior time (as described further below, infra, at Paragraphs

12   70-72).

13             64.   To be clear, the second secret transmission directed by Google, containing both the

14   duplicated message and additional data, is initiated by Google code and concurrent with the

15   communications with the third-party website. This diagram illustrates the process:

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     16
       IP stands for “Internet Protocol.” Each device, when connected to the Internet, is assigned a
27   unique IP address by the Internet Service Provider (ISP) that is providing the internet connection.
28   IP addresses may change over time but often do not. In many cases, an ISP will continue to
     assign the same IP address to the same device.


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12          65.     The above chart illustrates how the user communicates with his or her own web

13   browser in a private browsing mode, for example, by clicking on a link to content the user wishes

14   to view on The New York Times. The user’s browser then sends a communication to The New

15   York Times. Because The New York Times is running Google Analytics, Google’s embedded

16   Google code, written in Javascript, sends secret instructions back to the user’s browser, without

17   alerting the user that this is happening. Google causes the user’s browser to secretly duplicate the

18   communication with the website, transmitting it to Google servers in California. Google not only

19   surreptitiously duplicates the data included in the communication with The New York Times but it

20   also includes additional information on the user’s prior private browsing histories with Facebook

21   and YouTube, by way of technologies such as cached cookies from prior sessions. Where the user

22   is using Google Chrome, Google also causes to be sent its X-Client-Data Header information if that

23   is available, which uniquely identifies the user.

24          66.     Google does not notify users of this secret Google software code designed to collect

25   user data even while they are in a private browsing mode, which is hidden from users and run

26   without any notice to users of the interception and data collection, which exceeded all contemplated

27   and authorized use of their data. Users also have no way to remove that Google script or to opt-out

28   of its functionality. Google designed the software in a way to render ineffective any barriers users



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 1   may wish to use to prevent access to their information, including by browsing in Incognito mode or

 2   other private browsing modes. Private browsing modes are supposed to provide users with privacy,

 3   as represented by Google, but Google’s software by design circumvents those barriers and enables

 4   Google to secretly collect user data and profile users.

 5           B.     Google Collects Data Using Google Analytics
 6                  1.      Google Analytics Code
 7
             67.    Over 70% of online websites and publishers on the internet utilize Google’s website
 8
     visitor-tracking product, “Google Analytics,” in addition to other Google advertisement technology
 9
     products (altogether the “Websites”). Google Analytics is a “freemium” service that Google makes
10
     available to websites.17 Google Analytics provides data analytics and attribution about the origins
11
     of a Website’s traffic, demographics, frequency, browsing habits on the Website, and other data
12
     about visitors. While Google Analytics is used by Websites, it is also essential to Google for its
13
     targeted advertisement services, and makes Google Search and its rankings possible by tracking the
14
     billions of visits to various Websites every day.
15
             68.    To implement Google Analytics, Google requires that Websites embed Google’s
16
     own custom but blackbox code into their existing webpage code. When a consumer visits a
17
     Website, his or her browser communicates a request to the Website’s servers to send the computer
18
     script to display the Website. The consumer’s browser then begins to read Google’s custom code
19
     along with the Website’s own code when loading the Website from the Website’s server. Two sets
20
     of code are thus automatically run as part of the browser’s attempt to load and read the Website
21
     pages—the Website’s own code, and Google’s embedded code. Google’s embedded code causes
22
     the second and concurrent secret transmission from the user’s browser (on the user’s computer or
23
     other connected device), containing the duplicated message between the user and the Website, to
24
     be combined with additional data such as the user’s prior browsing history and other Google
25

26
     17
        Google Analytics is “free” to implement, but the associated data and attribution reports come
27   at a price tag when Websites want more specific information. To obtain more specific and
28   granular data about visitors, Websites must pay a substantial fee, such as by paying for Google’s
     DV360, Ad Hub, or Google Audience products.


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 1   trackers, to be sent to Google’s servers.

 2                  2.      User-ID

 3           69.    For larger websites and publishers that are able to pay Google’s additional fees,
 4   Google offers an upgraded feature called “Google Analytics User-ID,” which allows Google to map
 5   and match the user (including Plaintiffs and Class members) to a specific unique identifier that
 6   Google can track across the web. The User-ID feature allows Websites to “generate [their] own
 7   unique IDs, consistently assign IDs to users, and include these IDs wherever [the Websites] send
 8   data to Analytics.” Because of Google’s omnipresence on the web, the use of User-IDs can be so
 9   powerful that the IDs “identify related actions and devices and connect these seemingly independent
10   data points. That same search on a phone, purchases on a laptop, and re-engagement on a tablet
11   that previously looked like three unrelated actions on unrelated devices can now be understood as
12   one user’s interactions with [the website’s] business.”18 This User-ID information is even more
13   useful to Google than the individual websites, however. Across millions of websites, Google is
14   able to use its secretly embedded computer scripts and User-IDs to compile what URLs the same
15   users are viewing, even when they are in “private browsing mode,” adding all of this information
16   to Google’s stockpile of user profiles. In short, with its market power and User-IDs, no one else
17   can track users online like Google.
18
                    3.      Cookies
19
             70.    Google also uses various cookies (hereinafter “Cookies”) to supplement Google
20
     Analytics’ tracking practices. Specifically, Google Analytics contains a script that causes the user’s
21
     (including Plaintiffs’ and Class members’) browser to transmit, to Google, information from each
22
     of the Google Cookies already existing on the browser’s cache. These Cookies typically show, at
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     18
28      How USER-ID Works, Google Analytics Help,
     https://support.google.com/analytics/answer/3123662?hl=en&ref_topic=3123660.


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 1   a minimum, the prior websites the user has viewed.19 These Cookies help enrich Google’s profile

 2   on the user, which Google uses for its own benefit and profit.

 3           71.    Google typically has its Cookies working with Google Analytics coded as “first

 4   party cookies,”20 so that consumers’ browsers are tricked into thinking that those Cookies are issued

 5   by the Website and not Google. This makes it very difficult for consumers to block Google’s

 6   Cookies, even if consumers tried to block or clear the cookies issued by “third parties.”

 7           72.    As discussed earlier, Google’s misuse of Cookies on the Safari browser to

 8   circumvent user controls was exactly what caused the FTC to fine Google $22.5 million in 2012.

 9   The FTC had found that such circumvention of consumer controls and representations were direct

10   violations of the Consent Decree.

11                  4.      No Consent
12
             73.    Google, as a matter of policy, does not require that Websites disclose how Google
13
     Analytics work to consumers (including Plaintiffs and Class members). In fact, as of the date of
14
     this Fourth Amended Complaint, Google still only has a “Consent Mode” for Google Analytics,
15
     which would help Websites identify whether a particular user (including Plaintiffs and Class
16
     members) knows and has consented to their use of Google Analytics and other Google services, in
17
     “Beta” or testing mode.21 “Consent Mode (Beta)” was released for the first time on September 3,
18
     2020, as part of a Google blog entitled, “Measure Conversions While Respecting User Consent
19
     Choices.”22
20

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22      A “cookie” is a piece of code that records information regarding the state of the user’s system
     (e.g., username; other login information; items added to a “shopping cart” in an online store) or
23   information regarding the user’s browsing activity (including clicking particular buttons, logging
     in, or recording which pages were visited in the past). Cookies can also be used to remember
24
     pieces of information that the user previously entered into form fields, such as names, addresses,
25   passwords, and payment card numbers. Even in “private browsing mode,” Google’s “scripts” on
     websites cause the user’s browser to transmit information to Google relating to pre-existing
26   “cookies” on the user’s system.
     20
        https://developers.google.com/analytics/devguides/collection/analyticsjs/cookie-usage
27   21
        https://support.google.com/analytics/answer/9976101?hl=en.
     22
28      https://blog.google/products/marketingplatform/360/measure-conversions-while-respecting-
     user-consent-choices/.


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 1           74.    Also, Google does not tell its users which websites implement Google Analytics.

 2   Google starts collecting user data as soon as a page is loading, before a consumer even had the

 3   chance to review the page. There is no effective way for users to avoid Google Analytics along

 4   with Google’s secret interceptions and data collection.

 5           75.    Websites implementing Google Analytics do not consent to the Google conduct at

 6   issue in this lawsuit, where Google collects consumer data for Google’s own purposes and financial

 7   benefit while users have enabled “private browsing mode.” On information and belief, Google

 8   never receives consent from Websites implementing Google Analytics or otherwise that Google

 9   may continue to intercept user activity and user data for its own purposes when “private browsing

10   mode” has been enabled.

11           76.    Google’s disclosures confirm the lack of consent from Websites to intercept or

12   collect data while users are in “private browsing mode.” Google represents to consumers and

13   Websites alike that Google will adhere to its own Privacy Policy as represented, whenever Google

14   Analytics is used. Specifically, Google states on the Analytics Help page for Websites the

15   following, regarding how it follows its own Privacy Policy:

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17   //

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22   //

23   //

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15   When any Website clicks on the “Google privacy policy & principles” above, they are taken to

16   Google’s Privacy Policy homepage at https://policies.google.com/privacy?hl=en, where Google

17   has made assurances to the users such as “you can adjust your privacy settings to control what we

18   collect and how your information is used” and that “[y]ou can choose to browse the web privately

19   using Chrome in Incognito mode.” In short, Google has assured Websites that Google Analytics

20   will only be implemented on Websites in such a way that individual users maintain control.

21          77.    Accordingly, Websites implementing Google Analytics have not consented, do not

22   consent and cannot consent to Google’s interception and collection of user data for Google’s own

23   purposes when users have enabled “private browsing mode” because doing so would violate

24   Google’s own Privacy Policy, as well as its assurances that its product complies with privacy laws

25   and the Consent Decree by respecting consumer choice.

26          C.     Google Collects Data Using Ad Manager

27          78.    In addition to Google Analytics, over 70% of website publishers utilize another
28   Google tracking and advertising product, called “Google Ad Manager” (formerly known as



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 1   “DoubleClick For Publishers” or “DFP”), which also collects the users’ URL viewing history.

 2          79.     Like Google Analytics, Google Ad Manager requires Google code to be embedded

 3   into the Website’s code. When the user’s (including Plaintiffs and Class members’) browser sends

 4   a communication to the website, asking for content to be displayed (i.e., the URL), then the

 5   embedded Google code causes the user’s browser to display targeted Google advertisements. These

 6   targeted ads are displayed along with the Website’s actual content. These advertisements are shown

 7   to the user on behalf of Google’s advertising customers, allowing Google to make money.

 8          80.     Google Ad Manager also uses Approved Pixels (supra) and Cookies to track users

 9   across the internet. Because of the number of Websites that use Google Ad Manager, it is very

10   difficult for consumers (including Plaintiffs and Class members) to avoid its persistence. Like

11   Google Analytics, Google Ad Manager begins collecting information on a user, before the content

12   for the webpage has even fully loaded.

13          81.     To maximize Google’s revenue, Google Ad Manager is set up to automatically

14   retarget a user based on information that Google has previously collected, whether this information

15   is based on a persistent identifier (e.g., Google Analytics User-ID, X-Client-Data Header, supra),

16   Google’s fingerprinting (e.g., Approved Pixels, supra), or geolocation. Thereafter, Google

17   continues to track and target the same user across the internet:

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28          82.     In many cases, the intercepted communications provide the “context” for targeted



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 1   “contextual advertising” for Google, where Google combines the URL the consumer is viewing,

 2   with what Google knows about that user (e.g., Google Analytics User-ID, geolocation), to target

 3   the consumer in the “context” of his or her web experience. Because of Google’s pervasive

 4   presence on the internet, its unparalleled reach and its uncanny ability to so target consumers,

 5   advertisers are willing to pay a premium for Google’s advertisement services.

 6             83.    As with Websites implementing Google Analytics, Websites using Ad Manager do

 7   not consent to Google collecting data for Google’s own purposes while users have enabled “private

 8   browsing mode.” On information and belief, Google never receives consent from Websites

 9   implementing Ad Manager that Google may continue to intercept user activity and user data for its

10   own purposes when “private browsing mode” has been enabled. Indeed, Google represents to

11   consumers and Websites alike that it will adhere to its own Privacy Policy.23

12             D.     Google Collects This Data From Users Even in “Private Browsing Mode”
13
               84.    All of the Google data collection, described above, continues to occur when a user
14
     (including Plaintiffs and Class members) enters “private browsing mode” on the user’s browser
15
     software. Specifically, Google intercepts the communications between the user and the Websites,
16
     whenever the user requests any page from the Website, thereby communicating and requesting a
17
     specific URL. Google then duplicates this communication and causes it to be sent to its own servers,
18
     after pairing the intercepted communications with whatever other data it can collect, so that Google
19
     can generate and profit from targeted advertisements.
20
               85.    There is no disclosure or consent associated with this Google interception and data
21
     collection, as Google designed its software code to run secretly, without disclosure, and render
22
     ineffective users’ efforts to restrict Google’s interception and data collection. Google was never
23
     authorized to take and use the information it obtained while users were in a private browsing mode,
24
     where users revoked any rights Google might otherwise have had to collect such data.
25
               86.    Take, for example, someone who visits The New York Times website in private mode
26
     with his Google Chrome browser. Even when he is browsing with “private browsing mode”
27

28   23
          https://policies.google.com/privacy?hl=en.


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 1   enabled, Google Analytics and Google Ad Manager continue to track his data. This is demonstrated

 2   by the following screenshot, which is not presented to the user and accessible only by using

 3   developer tools:

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16          87.     As described above, Google’s secret Javascript code from Google Analytics causes
17   the user to concurrently send to Google not only a duplicated copy of the communications
18   requesting the webpage with the Website but also additional data from the browser, such as Cookies,
19   browser information and the X-Client-Referrer Header if it is available. And Google’s Ad Manager
20   not only intercepts the user’s communications with the Websites; it concurrently combines the
21   duplicated communications as soon as the user loads a webpage, with data from other Google
22   processes to target the user with advertisements based on the combined information.
23          88.     Thus, even when users are browsing the internet in “private browsing mode,” Google
24   continues to track them, profile them and profit from their data whenever they visit a Website that
25   uses Google Analytics or Google Ad Manager. Google collects precisely the type of private,
26   personal information users wish and expect to protect when they have taken these steps to control
27   what information is shared with Google. Google’s tracking occurred and continues to occur no
28   matter how sensitive or personal users’ online activities are.


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     IV.     Google Creates Profiles On Its Users Using Confidential Information
 1
             A.     Google’s Business Model Requires Extensive And Continual User Data
 2                  Collection
 3   “This is what every business has always dreamt of; to have a guarantee that if it places an ad, it
         will be successful. . . . In order to be successful in that business, you have to have great
 4
            predictions. Great predictions begin with one imperative: you need a lot of data.”
 5               -Shoshana Zuboff, PhD; Professor Emeritus, Harvard Business School24

 6           89.    The core of Google’s business model is targeted advertising. In fact, the bulk of

 7   Google’s hundreds of billions of dollars in revenue annually come from what companies pay Google

 8   for targeted advertising,25 both on Google Search and on various websites and applications that use

 9   Google services. The more accurately that Google can track and target consumers, the more

10   advertisers are willing to pay Google’s high advertisement fees and services.

11           90.    Allowing consumers (including Plaintiffs and Class members) control over Google’s

12   data collections and ad targeting – with an ability to stop Google’s data collections and ad targeting,

13   including while in a private browsing mode – is actually against Google’s interests and Google’s

14   track record with regulators worldwide prove that Google is always tempted to play fast and loose

15   with its obligations and efforts to continue its data collection and ad targeting.

16           91.    Because Google has already collected detailed “profiles” on each user and their

17   devices, Google is able to associate the data (collected from users in private browsing mode) with

18   those users’ pre-existing Google “profiles.” Doing so improves the “profiles” and allows Google

19   to sell more targeted ads at those users, among many other uses.

20           B.     Google Creates a User Profile on Each Individual

21           92.    Google strives to build “profiles” on each individual (including Plaintiffs and Class

22   members) and each of their devices. These “profiles” contain all the data Google can collect

23   associated with each individual.

24           93.    By tracking, collecting and intercepting users’ (including Plaintiffs’ and Class

25

26   24
        Jeff Orlowski, Davis Coombe, Vickie Curtis, and Larissa Rhodes, The Social Dilemma,
     https://www.netflix.com/title/81254224?s=i&trkid=13747225 (Jan. 2020).
27   25
        https://www.investopedia.com/articles/investing/020515/business-
28   google.asp#:~:text=Google%20Ads%20and%20Search%20Advertising,results%20generated%2
     0by%20Google's%20algorithm.


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 1   members’) personal communications indiscriminately—regardless of whether users attempted to

 2   avoid such tracking pursuant to Google’s instructions—Google has gained a complete, cradle-to-

 3   grave profile of users:

 4                  a. In many cases, Google is able to associate the data collected from users in

 5                      “private browsing mode” with specific and unique user profiles through Google

 6                      Analytics User-ID. Google does this by making use of a combination of the

 7                      unique identifier of the user it collects from Websites, and Google Cookies that

 8                      it collects across the internet on the same user;

 9                  b. Information collected from Google Cookies, which includes identifying

10                      information regarding the user from private browsing sessions and non-private

11                      browsing sessions, across multiple sessions;

12                  c. Identifying information regarding the consumer from various Google

13                      fingerprinting technologies that uniquely identify the device, such as X-Client-

14                      Data Header, GStatic, and Approved Pixels;

15                  d. Geolocation data that Google collects from concurrent Google processes and

16                      system information, such as from the Android Operating System; and

17                  e. The IP address information, which is transmitted to Google’s servers during the

18                      private and non-private browsing sessions. Google correlates and aggregates

19                      all of this information to create profiles on the consumers.

20          C.      Google Analytics Profiles Are Supplemented by the “X-Client-Data Header”
21
            94.     Another powerful tool Google uses in building detailed profiles of what may
22
     someday be every individual on the planet is the X-Client-Data Header.
23
            95.     Google’s Chrome browser identifies every device upon the first installation of
24
     Chrome with a unique digital string of characters called Google’s “X-Client-Data Header,” such
25
     that Google uniquely identifies the device and user thereafter. Whenever Chrome is used, the
26
     Google browser is constantly transmitting this X-Client-Data Header to Google servers. Developer
27
     tools confirm this as follows:
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                                     29
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12           96.    Through the X-Client-Data Header, Google is able to tell whether a user (including

13   Plaintiffs and Class members) is in Incognito mode or not. The X-Client Data Header is present in

14   all Chrome-states except when the user is in Incognito mode.26 Developer tools confirm this as

15   follows:

16   //

17   //

18   //

19   //

20   //

21   //

22   //

23
     26
        Consistent with its historical behavior, Google actually tried to turn on the X-Client-Data
24
     Header for users in March 2020, but was called out by Microsoft engineers on technical forums.
25   https://bugs.chromium.org/p/chromium/issues/detail?id=1060744&q=x-client-
     data&can=1&mode=grid&start-date=2020-04-23&end-date=2020-05-23&x=Target. Google
26   thereafter called it a “bug,” and reverted the browser back to not transmitting the identifier when
     the user is in Incognito. As Plaintiffs will prove, however, Google was concurrently representing
27   to the press at this time that Google was not so using the X-Client-Data Header in Incognito,
28   when in fact it was. See, e.g.,
     https://www.theregister.co.uk/2020/03/11/google_personally_identifiable_info/.


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12           97.    The X-Client-Data Header allows Google to track Chrome users across the web,

13   because it remains unchanged even if users “clear their browser cache” of cookies.27

14           98.    Like Cookies, when the X-Client-Data Header is available, Google will concurrently

15   collect this identifier with the duplicated communications it gets from the Websites and browser, to

16   make it near impossible for the consumer to escape Google’s surveillance.

17           99.    Google designed the Chrome browser software to track users, which further renders

18   ineffective users’ efforts to prevent Google’s access to their information and Google’s creation of

19   detailed user profiles for Google’s advertising and profits.

20           D.     Google Identifies You with “Fingerprinting” Techniques
21
             100.   Google also builds its profile of users (including Plaintiffs and Class members) by
22
     “fingerprinting” techniques. Because every device and application installed has small differences,
23
     images, digital pixels, and fonts display differently for every device and application, just ever so
24
     slightly. By forcing a consumer to display one of its images, pixels, or fonts, online companies such
25

26

27   27
        See Thomas Claburn, Is Chrome Really Secretly Stalking You Across Google Sites Using Per-
28   Install ID Numbers? We Reveal the Truth, THE REGISTER (Feb. 5, 2020),
     https://www.theregister.co.uk/2020/02/05/google_chrome_id_numbers/.


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 1   as Google are able to “fingerprint” their users and consumers across the internet, with or without

 2   their permission.

 3           101.   For example, a large portion of the Websites also use Google’s GStatic, which is a

 4   Google-hosted service for fonts, where Google loads the fonts displayed on the Website, instead of

 5   the Website’s web server. Google sells this service as something that allegedly helps to reduce

 6   bandwidth and improve loading time, because Google is hosting the fonts. Plaintiffs are informed

 7   and believe and on that basis allege that GStatic is an additional way that Google identifies and

 8   tracks consumers, including when consumers are using a private browsing mode.

 9           102.   Google also authorizes Websites to place digital pixels (“Google Approved Pixels”)

10   embedded within the Websites’ code.28 These pixels are typically created and maintained by

11   “approved third parties” (such as comScore, a data broker registered with California’s CCPA data

12   broker registry).

13           103.   Again, when a user’s web browser accesses a website containing a Google Approved

14   Pixels, that browser responds to the pixel by generating a unique display. Each user’s display is

15   unique because it is generated in part, from certain digital signatures that are unique to each specific

16   device (in combination with the browser software running on the device). By tracking these pixels

17   and the unique resulting displays, Google and its data-broker partners are able to track and

18   “measure” consumers across the web.

19           104.   GStatic and Google Approved Pixels enable Google to identify consumers because

20   the way the fonts and pixels are displayed on the browser help to uniquely identify whom the user

21   is. This again is another set of data surreptitiously collected by Google vis-à-vis the consumer’s

22   browser which is added to the duplicated communications between the user and Websites, which

23   Google collects concurrent with the user’s communications with the Website even when users are

24   in a private browsing mode.

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27   28
       See, e.g., USE TRACKING PIXELS, https://support.google.com/news/publisher-
28   center/answer/9603438?hl=en (last visited Sept. 20, 2020), describing partnership with
     comScore.


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             E.     Google Identifies You With Your System Data and Geolocation Data
 1
             105.   Google also collects additional system data and geolocation data from (a) the
 2
     Android operating system running on users’ phones or tablets and (b) Google applications running
 3
     on phones (e.g., Chrome and Maps), Google Assistant, Google Home, and other Google
 4
     applications and services.
 5
             106.   Google collects information for its user profiles (including Plaintiffs and Class
 6
     members) by making use of (a) the Android operating system, which Google created and makes
 7
     available for smart phones, and (b) various Google applications that run on mobile devices. In a
 8
     2018 white paper entitled “Google Data Collection,”29 Professor Douglas C. Schmidt of Vanderbilt
 9
     University concluded that Google’s Android operating system, and several of Google’s mobile
10
     applications, are constantly sending system and location data to Google’s servers. Specifically,
11
     Professor Schmidt wrote:
12

13                  Both Android and Chrome send data to Google even in the absence
                    of any user interaction. Our experiments show that a dormant,
14                  stationary Android phone (with Chrome active in the background)
                    communicated location information to Google 340 times during a
15                  24-hour period, or at an average of 14 data communications per
                    hour. In fact, location information constituted 35% of all the data
16                  samples sent to Google.
     Indeed, now that Google has acquired Nest and merged Nest’s data with data obtained via Google
17
     Home, Professor Schmidt’s analysis regarding Google’s ability to identify and track who and
18
     where we are is even more persistent and pernicious.
19
             107.   When any user of a Nest or Google Home product is running a Nest or Google Home
20
     application, concurrent with Google Assistant, Google is using the data collected from those
21
     processes to target users for advertisements. To optimize those advertisements, Google collects the
22
     user’s geolocation.
23
             108.   Because Google Assistant and other Google applications are constantly tracking
24
     your geolocation, Google knows exactly who you are, regardless of whether you are in “private
25

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27   29
        Douglas C. Schmidt, Google Data Collection, DIGITAL CONTENT NEXT 1 (Aug. 15, 2018),
28   https://digitalcontentnext.org/wp-content/uploads/2018/08/DCN-Google-Data-Collection-
     Paper.pdf.


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 1   browsing mode” on the web, and Google is collecting and profiting from that personal user data.

 2           109.   In a Wired article regarding Google’s privacy practices, Professor Schmidt stated

 3   that Google’s “business model is to collect as much data about you as possible and cross-correlate

 4   it so they can try to link your online persona with your offline persona. This tracking is just

 5   absolutely essential to their business. ‘Surveillance capitalism’ is a perfect phrase for it.”30 By

 6   collecting increasing amounts of user data, Google is able to leverage such data to grow its third-

 7   party advertising business and profit.

 8           110.   Plaintiffs are informed and believe that all of this Google data collection happens

 9   even when a consumer is in the web browser’s “private browsing mode.” Indeed, the Arizona

10   Attorney General recently filed a complaint against Google alleging that it deceptively tracks users

11   based on various sources of location data, overriding consumer privacy controls and preferences.31

12           111.   Plaintiffs are informed and believe that Google has contended in private industry

13   conversations and in internal meetings and documents, that such surreptitious data collection is

14   permissible, as it “aggregates the data” after the data has already been intercepted, collected,

15   reviewed, and analyzed by Google. Even if that contention were true, that would not excuse

16   Google’s unlawful interceptions of data from users in “private browsing mode.”

17           112.   Plaintiffs are informed and believe that Google has also claimed in private industry

18   conversations and in internal meetings and documents that its data collection practices are

19   acceptable and not impermissible interceptions of communications, because Google is “acting on

20   behalf of the website(s)”, as their vendor. This contention is untrue. As the chart above indicates,

21   Google’s secret embedded code causes the user data to be sent directly to Google’s servers in

22   California. Google then treats that user data as Google’s own property, which Google may use or

23   sell as it pleases. Indeed, for a website to get access to the data that Google has collected using the

24   embedded code running on that website, the website’s publisher must pay a premium price to

25   Google.

26
     30
        Lily Hay Newman, The Privacy Battle to Save Google from Itself, WIRED (Nov. 1, 2018),
27   https://www.wired.com/story/google-privacy-data/.
     31
28      See Complaint, Arizona v. Google LLC, Arizona Sup. Ct. Case No. 2020-006219 (May 27,
     2020).


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     V.      Google Profits from Its Surreptitious Collection of User Data
 1

 2           113.    Google’s continuous tracking of users is no accident. Google is one of the largest

 3   technology companies in the world. Google LLC and its parent Alphabet Inc. have over 1.5 billion

 4   active account users, and Alphabet Inc. boasts a net worth exceeding $1 trillion.

 5           114.    Google’s enormous financial success results from its unparalleled tracking and

 6   collection of personal and sensitive user information (including Plaintiffs’ and Class members’) and

 7   selling and brokering of that user information to optimize advertisement services. Over the last five

 8   years, virtually all of Google’s revenue was attributable to third party advertising and it is continuously

 9   driven to find new and creative ways to leverage its access to users’ data in order to sustain its

10   phenomenal growth.

11           115.    Google profits from the data it collects – including the user data collected while users

12   are in a private browsing mode – in at least three ways. First, Google associates the confidential

13   communications and data with a user profile or profiles, to enrich Google’s ability to charge its

14   customers for advertisement-related services.           Second, Google later uses the intercepted

15   confidential communications and user data (in combination with the user’s profile) to direct targeted

16   advertisements to consumers (including Plaintiffs and Class members). Third, Google uses the

17   results to improve Google’s own algorithms and technology, such as Google Search.

18           116.    The data Google collects contains consumers’ personal viewing information.

19   Google collects, reads, analyzes the contents of, and organizes this data based on consumers’ prior

20   histories. Google creates “profiles” for each individual user and/or each individual device that

21   accesses the Internet. Google seeks to associate as much information as possible with each profile

22   because, by doing so, Google can profit from Google’s ad-targeting services.

23           117.    For example, Plaintiffs are informed and believe and on that basis allege, that Google

24   often demands that websites pay for significant and expensive upgrades (e.g., such as to Google’s

25   DV360) in order for the Websites to obtain access to specific visitor information. That Google

26   holds such detailed information regarding visitors hostage is proof that Google collects consumer

27   information on Websites primarily for its own use and profit.

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 1          118.    Likewise, Google Ad Manager is a service that generates targeted advertisements to

 2   be displayed alongside third-party websites’ content. The user profiles, which Google creates and

 3   maintains using the collected user data, are used by Google’s algorithms to select which ads to

 4   display through Google.

 5          119.    Google is paid for these advertisements by the third-party advertisers. Google is

 6   able to demand high prices for these targeted-advertising services because Google is able to use

 7   user profiles (including data that Google obtained from users while in “private browsing” mode) to

 8   select and display advertisements targeted at those specific profiles.

 9          120.    Plaintiffs are informed and believe that Google also benefits by using the data it

10   collects to improve and refine existing Google products, services, and algorithms and also to

11   develop new products, services and algorithms. This collection, usage, or monetization of user data

12   contravenes the steps Plaintiffs and Class members have taken to try to control their information

13   from being tracked or used by Google in any way, for Google’s own profits.

14          121.    Google market power in Search is entirely dependent on its ability to track what

15   consumers are doing. The trackers that Google has across the internet not only tell Google where

16   consumers go subsequent to searching on Google Search, the trackers allow Google to track what

17   websites are popular and how often they are visited. By compiling not just consumer profiles, but

18   surveying human behavior across the vast majority of web browser activity, Google is able to create

19   a better and more effective search product as compared to its competitors, by its ability to claim that

20   Google knows how to best rank websites and online properties, because Google can track consumer

21   activity better than anyone else. Google Search would not be nearly as effective of a search tool

22   without Google Analytics as a complement.

23          122.    Google profits from users by acquiring their sensitive and valuable personal

24   information, which includes far more than mere demographic information and volunteered personal

25   information like name, birth date, gender and email address. More importantly, when consumers use

26   Google, Google secretly plants numerous tracking mechanisms on users’ computers and web-

27   browsers, which allow Google to track users’ browsing histories and correlate them with user, device,

28   and browser IDs, rendering ineffective users’ efforts to prevent access to their data.



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 1           123.   The information Google tracks has and had massive economic value during the Class

 2   Period. This value is well understood in the e-commerce industry, and personal information is now

 3   viewed as a form of currency.

 4           124.   Well before the Class Period, there was a growing consensus that consumers’

 5   sensitive and valuable personal information would become the new frontier of financial exploit.

 6           125.   Professor Paul M. Schwartz noted in the Harvard Law Review:

 7                  Personal information is an important currency in the new
                    millennium. The monetary value of personal data is large and still
 8
                    growing, and corporate America is moving quickly to profit from
 9                  the trend. Companies view this information as a corporate asset and
                    have invested heavily in software that facilitates the collection of
10                  consumer information.32
11           126.   Likewise, in The Wall Street Journal, former fellow at the Open Society Institute

12   (and current principal technologist at the ACLU) Christopher Soghoian noted:

13                  The dirty secret of the Web is that the “free” content and services that
14                  consumers enjoy come with a hidden price: their own private data.
                    Many of the major online advertising companies are not interested in
15                  the data that we knowingly and willingly share. Instead, these
                    parasitic firms covertly track our web-browsing activities, search
16                  behavior and geolocation information. Once collected, this mountain
                    of data is analyzed to build digital dossiers on millions of consumers,
17                  in some cases identifying us by name, gender, age as well as the
18                  medical conditions and political issues we have researched online.

19                  Although we now regularly trade our most private information for
                    access to social-networking sites and free content, the terms of this
20                  exchange were never clearly communicated to consumers.33
21           127.   The cash value of the personal user information unlawfully collected by Google

22   provided during the Class Period can be quantified. For example, in a study authored by Tim

23   Morey, researchers studied the value that 180 internet users placed on keeping personal data

24

25

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     32
        Paul M. Schwartz, Property, Privacy and Personal Data, 117 HARV. L. REV. 2055,
27   2056–57 (2004).
     33
28      Julia Angwin, How Much Should People Worry About the Loss of Online Privacy?, THE WALL
     STREET JOURNAL (Nov. 15, 2011).


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 1   secure.34 Contact information of the sort that Google requires was valued by the study participants

 2   at approximately $4.20 per year. Demographic information was valued at approximately $3.00 per

 3   year. However, web browsing histories were valued at a much higher rate: $52.00 per year. The

 4   chart below summarizes the findings:

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15           128.   Similarly, the value of user-correlated internet browsing history can be quantified,

16   because Google itself was willing to pay users for the exact type of communications that Google

17   illegally intercepted from Plaintiffs and other members of the Class during the Class Period. For

18   example, Google Inc. had a panel during the Class Period (and still has one today) called “Google

19   Screenwise Trends” which, according to the internet giant, is designed “to learn more about how

20   everyday people use the Internet.”

21           129.   Upon becoming a panelist, internet users would add a browser extension that shares

22   with Google the sites they visit and how they use them. The panelists consented to Google tracking

23   such information for three months in exchange for one of a number of “gifts,” including gift cards

24   to retailers such as Barnes & Noble, Walmart, and Overstock.com.

25

26

27   34
        Tim Morey, What’s Your Personal Data Worth?, DESIGN MIND (Jan. 18, 2011),
28   https://web.archive.org/web/20131206000037/http://designmind.frogdesign.com/blog/what039s-
     your-personal-data-worth.html.


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 1           130.   After three months, Google also agreed to pay panelists additional gift cards “for

 2   staying with” the panel. These gift cards, mostly valued at exactly $5, demonstrated conclusively

 3   that internet industry participants understood the enormous value in internet users’ browsing habits.

 4   Google now pays Screenwise panelists up to $3 per week to be tracked.

 5           131.   As demonstrated above, user-correlated URLs have monetary value. They also have

 6   non-monetary, privacy value. For example, in a recent study by the Pew Research Center, 93% of

 7   Americans said it was “important” for them to be “in control of who can get information” about

 8   them. Seventy-four percent said it was “very important.” Eighty-seven percent of Americans said

 9   it was “important” for them not to have someone watch or listen to them without their permission.

10   Sixty-seven percent said it was “very important.” And 90% of Americans said it was “important”

11   that they be able to “control[] what information is collected about [them].” Sixty-five percent said

12   it was very important.

13           132.   Likewise, in a 2011 Harris Poll study, 76% of Americans agreed that “online

14   companies, such as Google or Facebook, control too much of our personal information and know

15   too much about our browsing habits.”

16           133.   Consumers’ sensitive and valuable personal information increased as a commodity,

17   where Google itself began paying users specifically for their browsing data.35 As early as 2012

18   Google publicly admitted it utilized consumers’ browsing data, paired with other sensitive and

19   valuable personal information, to achieve what it called “nowcasting,” or “contemporaneous

20   forecasting,” which Google’s Chief Economist Hal Varian equated to the ability to predict what is

21   happening as it occurs.36

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     35
        Jack Marshall, Google Pays Users for Browsing Data, DigiDay (Feb. 10, 2012),
27   https://digiday.com/media/google-pays-users-for-browsing-data/
     36
28      K.N.C., Questioning the searches, The Economist (June 13, 2012),
     https://www.economist.com/schumpeter/2012/06/13/questioning-the-searchers


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 1           134.   As the thirst grew for sensitive, personal information,37 it became readily apparent

 2   that the world’s most valuable resource was no longer oil, but instead consumers’ data in the form

 3   of their sensitive, personal information.38

 4           135.   During the Class Period, a number of platforms have appeared where consumers can

 5   and do directly monetize their own data, and prevent tech companies from targeting them absent

 6   their express consent:

 7                  a.        Brave’s web browser, for example, will pay users to watch online targeted

 8                            ads, while blocking out everything else.39

 9                  b.        Loginhood states that it “lets individuals earn rewards for their data and

10                            provides website owners with privacy tools for site visitors to control their

11                            data sharing,” via a “consent manager” that blocks ads and tracking on

12                            browsers as a plugin.40

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     37
        Exploring the Economic of Personal Data: A Survey of Methodologies for Measuring
16
     Monetary Value, OECD Digital Economy Paper No. 220 at 7 (Apr. 2, 2013),
17   http://dx.doi.org/10.1787/5k486qtxldmq-en; Supporting Investment in Knowledge Capital,
     Growth and Innovation, OECD, at 319 (Oct. 13, 2013),
18   https://www.oecd.org/sti/inno/newsourcesofgrowthknowledge-basedcapital.htm; Pauline
     Glickman and Nicolas Glady, What’s the Value of Your Data? TechCrunch (Oct. 13, 2015)
19   https://techcrunch.com/2015/10/13/whats-the-value-of-your-data/; Paul Lewis and Paul Hilder,
     Former Cambridge Analytica exec says she wants lies to stop, The Guardian (March 23, 2018)
20
     https://www.theguardian.com/uk-news/2018/mar/23/former-cambridge-analytica-executive-
21   brittany-kaiser-wants-to-stop-lies; Shoshanna Zuboff, The Age of Surveillance Capitalism 166
     (2019).
     38
22      The world’s most valuable resource is no longer oil, but data, The Economist (May 6, 2017),
     https://www.economist.com/leaders/2017/05/06/the-worlds-most-valuable-resource-is-no-
23   longer-oil-but-data.
     39
        Get Paid to Watch Ads in the Brave Web Browser, at: https://lifehacker.com/get-paid-to-
24
     watch-ads-in-the-brave-web-browser-1834332279#:~:text=Brave%2C%20a%20chromium-
25   based%20web%20browser%20that%20boasts%20an,a%20more%20thoughtful%20way%20than
     %20we%E2%80%99re%20accustomed%20to (Lifehacker, April 26, 2019) (“The model is
26   entirely opt-in, meaning that ads will be disable by default. The ads you view will be converted
     into Brave’s cryptocurrency, Basic Attention Tokens (BAT), paid out to your Brave wallet
27   monthly”).
     40
28      https://loginhood.io/. See also, https://loginhood.io/product/chrome-extension (“[s]tart earning
     rewards for sharing data – and block others that have been spying on you. Win-win.”).


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 1                 c.     Ex-presidential candidate Andrew Yang’s “Data Dividend Project” aims to

 2                        help consumers, “[t]ake control of your personal data. If companies are

 3                        profiting from it, you should get paid for it.”41

 4                 d.     Killi is a new data exchange platform that allows you to own and earn from

 5                        your data.42

 6                 e.     Similarly, BIGtoken “is a platform to own and earn from your data. You

 7                        can use the BIGtoken application to manage your digital data and identity

 8                        and earn rewards when your data is purchased.”43

 9                 f.     The Nielsen Company, famous for tracking the behavior of television

10                        viewers’ habits, has extended their reach to computers and mobile devices

11                        through Nielsen Computer and Mobile Panel. By installing the application

12                        on your computer, phone, tablet, e-reader, or other mobile device, Nielsen

13                        tracks your activity, enters you into sweepstakes with monetary benefits,

14                        and earn points worth up to $50 per month.44

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        How Does It Work, at: https://www.datadividendproject.com/ (“Get Your Data
     Dividend…We’ll send you $$$ as we negotiate with companies to compensate you for using
24
     your personal data.”).
     42
25      https://killi.io/earn/.
     43
        https://bigtoken.com/faq#general_0 (“Third-party applications and sites access BIGtoken to
26   learn more about their consumers and earn revenue from data sales made through their platforms.
     Our BIG promise: all data acquisition is secure and transparent, with consumers made fully
27   aware of how their data is used and who has access to it.”).
     44
28      Kevin Mercandante, Ten Apps for Selling Your Data for Cash, Best Wallet Hacks (June 10,
     2020), https://wallethacks.com/apps-for-selling-your-data/.


                                        41
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 1           136.   Technology companies recognize the monetary value of users’ sensitive, personal

 2   information, insofar as they encourage users to install applications explicitly for the purpose of

 3   selling that information to technology companies in exchange for monetary benefits.45

 4           137.   The CCPA recognizes that consumers’ personal data is a property right. Not only

 5   does the CCPA prohibit covered businesses from discriminating against consumers that opt-out of

 6   data collection, the CCPA also expressly provides that: “[a] business may offer financial incentives,

 7   including payments to consumers as compensation, for the collection of personal information, the

 8   sale of personal information, or the deletion of personal information.”          Cal. Civ. Code §

 9   1798.125(b)(1). The CCPA provides that, “[a] business shall not use financial incentive practices

10   that are unjust, unreasonable, coercive, or usurious in nature.” Cal. Civ. Code § 1798.125(b)(4).

11           138.   Through its false representations and unlawful data collection, Google is unjustly

12   enriching itself at the cost of consumer choice, when the consumer would otherwise have the ability

13   to choose how they would monetize their own data.

14   VI.     Google’s Recent About-Face

15           139.   Google has already acknowledged the inappropriateness of its tracking practices in
16   private browsing mode. First, after Plaintiffs filed the instant lawsuit, Google changed its own
17   Incognito Screen to add an additional option of “block[ing] third-party cookies.”          Google’s
18   disclosure is still unclear as to whether the term ‘third party cookies’ encompasses Google’s own
19   ‘Doubleclick’ cookies and, once again, leaves a misleading impression about Google’s own
20   interception and collection of user data.   Because Google used its Doubleclick cookies to track
21   users across websites, including when users are in Incognito or some other private browsing mode,
22   Google was able to identify and track users even when they were in such private browser modes:
23

24   45
        Kari Paul, Google launches app that will pay users for their data, The Guardian (June 11,
25   2019), https://www.theguardian.com/technology/2019/jun/11/facebook-user-data-app-privacy-
     study; Saheli Roy Choudhury and Ryan Browne, Facebook pays teens to install an app that
26   could collect all kinds of data, CNBC (Jan. 30, 2019),
     https://www.cnbc.com/2019/01/29/facebook-paying-users-to-install-app-to-collect-data-
27   techcrunch.html; Jay Peters, Facebook will now pay you for your voice recordings, The Verge
28   (Feb. 20, 2020), https://www.theverge.com/2020/2/20/21145584/facebook-pay-record-voice-
     speech-recognition-viewpoints-proununciations-app.


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13   Notably, Google provides no explanation of what “third-party cookies” Google is referring to, or

14   that Google may in fact be talking about itself, where Google had been intercepting the user’s

15   communications in Incognito for years.

16            140.    Second, after Plaintiffs filed the instant lawsuit, Google began testing a “Consent

17   Mode (Beta)” for Google Analytics, where Websites for the first time will be required to indicate

18   to Google whether the users agreed to be tracked by Google Analytics and Ad Manager, before “the

19   associated [computer code] tags will function normally” for those products:46

20   //

21   //

22   //

23   //

24   //

25   //

26   //

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28   46
          https://support.google.com/analytics/answer/9976101?hl=en.


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15          141.    Google’s release of such functionalities for testing is proof that Google did not

16   previously implement sufficient user controls to ensure consent – by users or Websites – and comply

17   with the Consent Decree or privacy laws.

18   VII.   Tolling of the Statute of Limitations
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            142.    Any applicable statutes of limitations have been tolled under (1) the fraudulent
20
     concealment doctrine, based on Google’s knowing and active concealment and denial of the facts
21
     alleged herein and (2) the delayed discovery doctrine, as Plaintiffs did not and could not reasonably
22
     have discovered Google’s conduct alleged herein until shortly before the Complaint was filed.
23
            143.    Throughout the Class Period, Google repeatedly and falsely represented that its users
24
     (including Plaintiffs and Class members) could prevent Google from tracking users and collecting
25
     their information, such as by using a browser in “private browsing mode.”
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            144.    Google never disclosed that it would continue to track users and collect their data
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     once these steps were performed, nor did Google ever admit that it would still attempt to collect,
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 1   aggregate, and analyze user data so that it can continue to track individual users even when the user

 2   has followed Google’s instructions on how to browse privately.

 3           145.   Google also further misled users by indicating that data associated with them would

 4   be viewable through their account, but Google did not include the user data at issue in this lawsuit

 5   (collected while in a private browser mode) in user accounts. Google’s failure to do so during the

 6   Class period is part of Google’s active deception and concealment.

 7           146.   Google has also made the following statements, which (1) misrepresent material

 8   facts about Google’s interception and use of users’ data in Incognito and/or private browsing modes

 9   and/or (2) omit to state material facts necessary to make the statements not misleading. Google

10   thereby took affirmative steps to mislead Plaintiffs and other users about the privacy of their data

11   when using private browsing modes like Incognito.

12                 On September 27, 2016, Google Director of Product Management Unni Narayana

13                  published an article in which he wrote that Google was giving users “more control

14                  with incognito mode” and stated “Your searches are your business. That’s why

15                  we’ve added the ability to search privately with incognito mode in the Google app

16                  for iOS. When you have incognito mode turned on in your settings, your search

17                  and browsing history will not be saved.”47

18                 On September 8, 2017, Google Product Manager Greg Fair posted an article titled

19                  “Improving our privacy controls with a new Google Dashboard” in which he

20                  touted how Google has “[p]owerful privacy controls that work for you” and

21                  emphasizing how users had “control” over their information and tools “for

22                  controlling your data across Google.”48

23                 On May 25, 2018, Google updated its Privacy Policy to state that users are “in

24                  control” and “can also choose to browse the web privately using Chrome in

25                  Incognito mode.”49

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     47
        https://blog.google/products/search/the-latest-updates-and-improvements-for/.
27   48
        https://www.blog.google/topics/safety-security/improving-our-privacy-controls-new-google-
28   dashboard/.
     49
        https://policies.google.com/privacy/archive/20171218-20180525?hl=en-US.


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 1                 On June 21, 2018, Google Product Manager Jon Hannemann posted an article

 2                  titled “More transparency and control in your Google Account” in which he

 3                  wrote: “For years, we’ve built and refined tools to help you easily understand,

 4                  protect and control your information. As needs around security and privacy

 5                  evolve, we will continue to improve these important tools to help you control how

 6                  Google works for you.”50

 7                 On May 7, 2019, the New York Times published an opinion piece by Google

 8                  CEO Sudar Pichai in which he represented that it is “vital for companies to give

 9                  people clear, individual choices around how their data is used” and that Google

10                  focuses on “features that make privacy a reality — for everyone.” He specifically

11                  referenced Incognito, stating: “For example, we recently brought Incognito

12                  mode, the popular feature in Chrome that lets you browse the web without linking

13                  any activity to you, to YouTube.” He continued: “To make privacy real, we give

14                  you clear, meaningful choices around your data.”51

15                 On May 7, 2019, during Google’s annual I/O conference, Google CEO Sundar

16                  Pichai represented that Google’s products are “built on a foundation of user trust

17                  and privacy” and ensuring “that people have clear, meaningful choices around

18                  their data.” He specifically referenced Incognito mode in Chrome, stating that

19                  Google was bringing Incognito mode to Google Maps: “While in Incognito in

20                  Maps, your activity, like the places you search and navigate to, won’t be linked to

21                  your account.”52

22                 On October 2, 2019, Google Director of Product Management, Privacy and Data

23                  Protection Office Eric Miraglia published an article titled “Keeping privacy and

24                  security simple, for you” in which he touted Google’s decision to add Incognito

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26   50
        https://blog.google/technology/safety-security/more-transparency-and-control-your-google-
     account/.
27   51
        https://www.nytimes.com/2019/05/07/opinion/google-sundar-pichai-privacy.html.
     52
28      https://singjupost.com/sundar-pichai-at-google-i-o-2019-keynote-full-
     transcript/?singlepage=1.


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 1                  mode to Google Maps, stating: “When you turn on Incognito mode in Maps, your

 2                  Maps activity on that device, like the places you search for, won’t be saved to

 3                  your Google Account and won’t be used to personalize your Maps experience.”53

 4                 On December 19, 2019, Google Vice President of Product Privacy Rahul Roy-

 5                  Chowdhury published an article titled “Putting you in control: our work in privacy

 6                  this year” in which he noted that Google had “expanded incognito mode across all

 7                  our apps” as an example of Google’s “tools to give you control over your data.”54

 8                 On January 28, 2020, Google Vice President of Product Privacy Rahul Roy-

 9                  Chowdhury published an article titled “Data Privacy Day: seven ways we protect

10                  your privacy” in which he identified Incognito mode as one of the ways Google

11                  keeps “you in control of your privacy” and touted how “Incognito mode has been

12                  one of our most popular privacy controls since it launched with Chrome in

13                  2008.”55

14                 On or about July 29, 2020, Google submitted written remarks to Congress for

15                  testimony by its current CEO Sundar Pichai (who helped develop Google’s

16                  Chrome browser), which stated: “I’ve always believed that privacy is a universal

17                  right and should be available to everyone and Google is committed to keeping

18                  your information safe, treating it responsibly and putting you in control of what

19                  you choose to share.”56

20           147.   The above Google representations were false. Google did not provide users with

21   control and permit them to browse privately, and Google instead continued to intercept users’

22   communications and collect user data while users were in a private browsing mode such as

23   Incognito. These Google representations, at a minimum, omitted material facts that would be

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        https://blog.google/technology/safety-security/keeping-privacy-and-security-simple-you/.
26   54
        https://blog.google/technology/safety-security/putting-you-in-control-privacy-2019/.
     55
        https://blog.google/technology/safety-security/data-privacy-day-seven-ways-we-protect-your-
27   privacy/.
     56
28      https://docs.house.gov/meetings/JU/JU05/20200729/110883/HHRG-116-JU05-Wstate-
     PichaiS-20200729.pdf.


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 1   necessary to make the statements made not misleading, as they left the false impression that Google

 2   did not intercept and collect users’ data while they were in private browsing mode.

 3          148.    Moreover, Google’s labeling of the relevant products “Incognito” mode and

 4   “private browsing” is, in and of itself, misleading absent clear disclosures about the ways in which

 5   Google intercepts and uses users’ private data. Indeed, “incognito” is defined as “with one’s

 6   identity concealed.” Private is defined as “not known or intended to be known publicly: secret.”

 7   However, as alleged above, Google in fact intercepts users’ private data and then associates that

 8   data with the user’s “Google profile” across its services—hardly “private” or “Incognito” at all.

 9          149.    Plaintiffs relied upon Google’s false and misleading representations and omissions

10   that they controlled use of their data through private browsing modes such as Incognito and, based

11   on those misrepresentations, believed that Google was not intercepting and using their private data

12   when they were in such private browsing modes.

13          150.    Plaintiffs did not discover and could not reasonably have discovered, that Google

14   was instead intercepting and using their data in the ways set forth in this Complaint until shortly

15   before the lawsuit was filed in consultation with counsel.

16          151.    Indeed, even after this lawsuit was filed, Google made yet another misleading

17   public statement about its data interception and collection practices. Google spokesperson Jose

18   Castaneda was quoted in articles published in June 2020 stating: “Incognito mode in Chrome

19   gives you the choice to browse the internet without your activity being saved to your browser or

20   device. As we clearly state each time you open a new incognito tab, websites might be able to

21   collect information about your browsing activity during your session.” Once again, Google left

22   the misleading impression that users’ data was not being intercepted and collected without their

23   knowledge and omitted to disclose the ways in which Google actually intercepts and uses user data

24   in private browsing sessions.

25          152.    Plaintiffs exercised reasonable diligence to protect their data from interception.

26   Indeed, that is precisely the reason why they used Google’s “Incognito” and private browsing

27   modes. Yet they did not and could not reasonably have discovered their claims until consulting

28   with counsel shortly before the filing of this Complaint through the exercise of reasonable



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 1   diligence.

 2          153.    Accordingly, Plaintiffs and Class members could not have reasonably discovered

 3   the truth about Google’s practices until shortly before this class litigation was commenced.

 4   Plaintiffs only learned of the truth in the weeks leading up to the filing of this Complaint.

 5   VIII. Google Collected the Data for the Purpose of Committing Further Tortious and
           Unlawful Acts
 6

 7          154.    Google collected the data from users in “private browsing mode” for the purpose of

 8   committing additional tortious and unlawful acts. Google’s subsequent use of the data violated the

 9   California Consumer Privacy Act (CCPA) and the FTC’s 2011 Consent Decree. Google also used

10   the data to tortiously invade consumers’ privacy and intrude on their seclusion.

11          155.    Google collected the data with the intent to violate the California Consumer

12   Privacy Act (CCPA). The data collected from users in “private browsing mode” qualifies as

13   “personal information” that is protected by the CCPA. Cal. Civ. Code § 1798.140(o).

14   The CCPA provides:

15                  “A business that collects a consumer’s personal information shall, at or
                    before the point of collection, inform consumers as to the categories of
16                  personal information to be collected and the purposes for which the
                    categories of personal information shall be used. A business shall
17                  not . . . use personal information collected for additional purposes without
                    providing the consumer with notice consistent with this section.”
18
     Cal. Civ. Code § 1798.100(b) (emphasis added).
19
            156.    At the time Google collected data from users in “private browsing mode,” Google
20
     intended to “use” that data “for additional purposes without providing the consumer with notice
21
     consistent with this section.” Whenever Google uses the confidential communications wrongfully
22
     collected, or aggregates it with other information to gain additional insight and intelligence, Google
23
     has violated the express prohibitions of the CCPA.
24
            157.    Moreover, Google carried out its intent: As described elsewhere in this complaint,
25
     Google made use of the data it collected from users in “private browsing mode,” for “additional
26
     purposes.” The users had never been “informed” of those “additional purposes.” Google never
27
     gave its users “notice consistent with” the CCPA’s requirements regarding these “additional
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 1   purposes” for which Google used the data collected from users in “private browsing mode.”

 2           158.   Google collected the data with the intent to violate the FTC’s 2011 Consent

 3   Decree. The FTC ordered Google to obtain “express affirmative consent” from each user, “prior to

 4   any new or additional sharing” of a user’s information that is “a change from stated sharing practices

 5   in effect at the time [Google] collected such information.”57

 6           159.   At the time Google collected data from users in “private browsing mode,” Google

 7   intended to share that data with third parties, in a manner that was very different from the “stated

 8   sharing practices” Google had disclosed to users. Google intended to do this without obtaining

 9   consent from the users.

10           160.   Moreover, Google carried out its intent: Google shared and/or sold the data,

11   collected from users in “private browsing mode,” with third-parties including Google’s advertising

12   customers. That sharing and/or selling of data contradicted Google’s repeated assurances to users,

13   described herein. Google shared this data without obtaining consent.

14           161.   Google collected the data with the intent to intrude upon users’ seclusion and

15   invade their constitutional privacy.       The California Constitution and common law protect

16   consumers from invasions of their privacy and intrusion upon seclusion.

17           162.   Users of the Internet enable “private browsing mode” for the purpose of preventing

18   others—including others in their own household, with whom they share devices—from finding out

19   what the users are viewing on the Internet. For example, users’ Internet activity, while in “private

20   browsing mode,” may reveal: a user’s dating activity; a user’s sexual interests and/or orientation; a

21   user’s political or religious views; a user’s travel plans; a user’s private plans for the future (e.g.,

22   purchasing of an engagement ring). These are just a few of the many intentions, desires, plans, and

23   activities that users intend to keep private when they enable “private browsing mode.”

24           163.   It is common knowledge that Google collects information about the web-browsing

25   activity of users who are not in “private browsing mode.” It is also common knowledge that Google

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27   57
       In the Matter of Google, Inc., No. C-4336, Decision and Order Part II, p.3 (F.T.C. Oct. 13,
28   2011), available at https://www.ftc.gov/enforcement/cases-proceedings/102-3136/google-inc-
     matter.


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 1   causes targeted advertisements to be sent based on that information. For example, a reasonable

 2   person who (a) uses a shared laptop computer to access a website (e.g., the L.A. Times) and who

 3   (b) sees displayed on that website a targeted advertisement for a wedding engagement ring; would

 4   therefore (c) believe that some other user of the shared computer had, while not in “private browsing

 5   mode,” viewed content relating to engagement rings.

 6          164.    By causing targeted advertisements to be sent to users and to users’ devices, based

 7   on data collected while users were in “private browsing mode,” Google has caused that data to be

 8   revealed to others and has thereby invaded the privacy and intruded upon the seclusion, of the users

 9   whose data was collected while in “private browsing mode.”

10          165.    Google had the intent to send these targeted advertisements at the time that Google

11   was collecting data from users who were in “private browsing mode.”

12            FACTUAL ALLEGATIONS REGARDING THE NAMED PLAINTIFFS
13
            166.    Plaintiff Brown is an adult domiciled in California and has an active Google account
14
     and had an active account during the entire Class Period.
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            167.    He accessed the internet and sent and received communications with Websites on
16
     several computing devices that were not shared devices.
17
            168.    Since at least 2016, Mr. Brown has been a user of various Google products, including
18
     Google Maps, Waze, Gmail, and the Chrome browser. At various times since 2016, including
19
     between February 28 and May 31, 2020, Mr. Brown visited several major websites using Chrome,
20
     in Incognito mode, on his Android devices, which included Android mobile phones and laptops.
21
     These websites included but are not limited to Apartments.com, CNN.com, and latimes.com, and
22
     other private websites. Although Mr. Brown did not know at that time, Plaintiffs are informed and
23
     believe now that Google was still tracking Mr. Brown, via various Android and Google-branded
24
     software and services, in addition to the X-client-Data Header.
25
            169.    Google thereby tracked Mr. Brown and intercepted his communications with
26
     Websites. Many of these requests were URL requests that revealed what he viewed and when.
27
            170.    Mr. Brown is aware that he is able to sell his own personal data, via other websites
28



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 1   such as Killi (https://killi.io/earn/). Unlike these other websites that ask for Mr. Brown’s permission

 2   to sell his data in exchange for consideration, Google never asked for his permission and instead

 3   impermissibly intercepts his communications with Websites, and sells information gleaned from

 4   such communications. Google’s practices irreparably damage Mr. Brown’s privacy and his ability

 5   to control his own personal rights and data.

 6          171.    Plaintiff Byatt is an adult domiciled in Florida and has an active Google account and

 7   had an active account during the entire proposed Class Period.

 8          172.    He accessed the internet and sent and received communications with Websites on

 9   several computing devices that were not shared devices.

10          173.    Since at least 2016, Mr. Byatt has been a user of various Google products, including

11   Google Maps, Waze, Gmail, and the Chrome browser. At various times since 2016, including

12   between February 28 and May 31, 2020, Mr. Byatt visited several major websites using Chrome, in

13   Incognito mode, on his Android and Apple devices, which included Android mobile phones. These

14   Websites included, The New York Times (nytimes.com) and The Washington Post

15   (Washingtonpost.com), and other private websites, and Google is in possession of a full record of

16   these Websites. Although Mr. Byatt did not know at that time, Plaintiffs are informed and believe

17   now that Google was still tracking Mr. Byatt, via various Android and Google-branded software

18   and services, in addition to the X-client-Data Header.

19          174.    Google thereby tracked Mr. Byatt and intercepted his communications with

20   Websites. Many of these requests were URL requests that revealed what he viewed and when.

21          175.    Mr. Byatt is aware that he is able to sell his own personal data, via other websites

22   such as Killi (https://killi.io/earn/). Unlike these other websites that ask for Mr. Byatt’s permission

23   to sell his data in exchange for consideration, Google never asked for his permission and instead

24   impermissibly intercepts his communications with Websites, and sells information gleaned from

25   such communications. Google’s practices irreparably damage Mr. Byatt’s privacy and his ability

26   to control his own personal rights and data.

27          176.    Plaintiff Davis is an adult domiciled in Arkansas and has an active Google account

28   and had an active account during the entire proposed Class Period.



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 1          177.    He accessed the internet and sent and received communications with Websites on

 2   several computing devices that were not shared devices.

 3          178.    Since at least 2016, Mr. Davis has been a user of various Google products, including

 4   Google Maps, Gmail, and the Chrome browser. At various times since 2016, including between

 5   February 28 and May 31, 2020, Mr. Davis visited several major websites using Chrome, in

 6   Incognito mode, on his laptops and Apple device, which included his Apple iPhone. These

 7   Websites included various news organizations’ sites, crypto-currency sites, and other private

 8   websites, and Google is in possession of a full record of these Websites. Although Mr. Davis did

 9   not know at the that time, Plaintiffs are informed and believe now that Google was still tracking

10   Mr. Davis, via various Google-branded software and services, in addition to the X-client-Data

11   Header.

12          179.    Google thereby tracked Mr. Davis and intercepted his communications with

13   Websites. Many of these requests were URL requests that revealed what he viewed and when.

14          180.    Mr. Davis is aware that he is able to sell his own personal data, via other websites

15   such as Killi (https://killi.io/earn/). Unlike these other websites that ask for Mr. Davis’ permission

16   to sell his data in exchange for consideration, Google never asked for his permission and instead

17   impermissibly intercepts his communications with Websites, and sells information gleaned from

18   such communications. Google’s practices irreparably damage Mr. Davis’ privacy and his ability to

19   control his own personal rights and data.

20          181.    Plaintiff Castillo is an adult domiciled in California and has an active Google account

21   and had an active account during the entire proposed Class Period.

22          182.    He accessed the internet and sent and received communications with Websites on

23   several computing devices that were not shared devices.

24          183.    Since at least 2016, Mr. Castillo has been a user of various Google products,

25   including Google Maps, Gmail, and the Chrome browser. At various times since 2016, including

26   between February 28 and May 31, 2020, Mr. Castillo visited several major websites using Chrome,

27   in Incognito mode, on his laptop and Android device, which included his Android-based Samsung

28   phone. These Websites included dating websites and other private websites, and Google is in



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 1   possession of a full record of these Websites. Although Mr. Castillo did not know at that time,

 2   Plaintiffs are informed and believe now that Google was still tracking Mr. Castillo, via various

 3   Android and Google-branded software and services, in addition to the X-client-Data Header.

 4          184.    Google thereby tracked Mr. Castillo and intercepted his communications with

 5   Websites. Many of these requests were URL requests that revealed what he viewed and when.

 6          185.    Mr. Castillo is aware that he is able to sell his own personal data, via other websites

 7   such as Killi (https://killi.io/earn/).   Unlike these other websites that ask for Mr. Castillo’s

 8   permission to sell his data in exchange for consideration, Google never asked for his permission

 9   and instead impermissibly intercepts his communications with Websites, and sells information

10   gleaned from such communications. Google’s practices irreparably damage Mr. Castillo’s privacy

11   and his ability to control his own personal rights and data.

12          186.    Plaintiff Trujillo is an adult domiciled in California and has an active Google account

13   and had an active account during the entire Class Period.

14          187.    She accessed the internet and sent and received communications with Websites on

15   several computing devices that were not shared devices.

16          188.    Since at least 2016, Ms. Trujillo has been a user of various Google products,

17   including Google Maps, Gmail, and the Chrome browser. At various times since 2016, including

18   between February 28 and May 31, 2020, Ms. Trujillo visited several major websites using Chrome,

19   in Incognito mode, on her laptop, Windows-based PC, and Apple devices, which included her Apple

20   iPhones. These websites included various travel websites (including multiple airlines and hotels),

21   as well as other private websites, and Google is in possession of a full record of these Websites.

22   Although Ms. Trujillo did not know at the time, Plaintiffs are informed and believe now that Google

23   was still tracking Ms. Trujillo, via various Google-branded software and services, in addition to the

24   X-client-Data Header.

25          189.    Google thereby tracked Ms. Trujillo and intercepted her communications with

26   Websites. Many of these requests were URL requests that revealed what she viewed and when.

27          190.    Ms. Trujillo is aware that she is able to sell her own personal data, via other websites

28   such as Killi (https://killi.io/earn.).   Unlike these other websites that ask for Ms. Trujillo’s



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 1   permission to sell her data in exchange for consideration, Google never asked for her permission

 2   and instead impermissibly intercepts her communications with Websites, and sells information

 3   gleaned from such communications. Google’s practices irreparably damage Ms. Trujillo’s privacy

 4   and her ability to control her own personal rights and data.

 5          191.    None of these Plaintiffs consented to the tracking and interception of their

 6   confidential communications made while browsing in “private browsing mode.”

 7                                 CLASS ACTION ALLEGATIONS
 8
            192.    This is a class action pursuant to Rules 23(a) and (b)(3) of the Federal Rules of Civil
 9
     Procedure on behalf of the following Classes:
10
                       Class 1 – All Chrome browser users with a Google account who
11                      accessed a non-Google website containing Google tracking or
12                      advertising code using such a browser and who were (a) in
                        “Incognito mode” on that browser and (b) were not logged into
13                      their Google account on that browser, but whose communications,
                        including identifying information and online browsing history,
14                      Google nevertheless intercepted, received, or collected from June
                        1, 2016 through the present (the “Class Period”).
15

16                     Class 2 – All non-Chrome browser users with a Google account
                        who accessed a non-Google website containing Google tracking
17                      or advertising code using any such browser and who were (a) in
                        “private browsing mode” on that browser, and (b) were not logged
18                      into their Google account on that browser, but whose
                        communications, including identifying information and online
19
                        browsing history, Google nevertheless intercepted, received, or
20                      collected from June 1, 2016 through the present (the “Class
                        Period”).
21

22          193.    Excluded from the Classes are: (1) the Court (including any Judge or Magistrate

23   presiding over this action and any members of their families); (2) Defendant, its subsidiaries,

24   parents, predecessors, successors and assigns, including any entity in which any of them have a

25   controlling interest and its officers, directors, employees, affiliates, legal representatives;

26   (3) persons who properly execute and file a timely request for exclusion from the Class; (4) persons

27   whose claims in this matter have been finally adjudicated on the merits or otherwise released;

28



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 1   (5) Plaintiffs’ counsel, Class counsel and Defendant’s counsel; and (6) the legal representatives,

 2   successors, and assigns of any such excluded persons.

 3          194.    Ascertainability: Membership of the Classes is defined based on objective criteria

 4   and individual members will be identifiable from Google’s records, including from Google’s

 5   massive data storage, consumer accounts, and enterprise services. Based on information readily

 6   accessible to it, Google can identify members of the Classes who own an Android device or have a

 7   non-Android device with an associated Google account, who were victims of Google’s

 8   impermissible interception, receipt, or tracking of communications as alleged herein.

 9          195.    Numerosity: Each of the Classes likely consists of millions of individuals.

10   Accordingly, members of the Classes are so numerous that joinder of all members is impracticable.

11   Class members may be identified from Defendant’s records, including from Google’s consumer

12   accounts and enterprise services.

13          196.    Predominant Common Questions: Common questions of law and fact exist as to

14   all members of the Classes and predominate over any questions affecting solely individual members

15   of the Classes. Common questions for the Classes include, but are not limited to, the following:

16                  a.     Whether Google represented that Class Members could control what

17                         communications of user information, browsing history and web activity data

18                         were intercepted, received, or collected by Google;

19                  b.     Whether Google gave the Class members a reasonable expectation of privacy

20                         that their communications of user information, browsing history and web

21                         activity data were not being intercepted, received, or collected by Google

22                         when the Class member was using a browser while in “private browsing

23                         mode”;

24                  c.     Whether Google in fact intercepted, received, or collected communications of

25                         user information, browsing history and web activity from Class members

26                         when the Class members were using a browser while in “private browsing

27                         mode”;

28                  d.     Whether Google’s practice of intercepting, receiving, or collecting



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 1                           communications of user information, browsing history and web activity

 2                           violated state and federal privacy laws;

 3                   e.      Whether Google’s practice of intercepting, receiving, or collecting

 4                           communications of user information, browsing history and web activity

 5                           violated state and federal anti-wiretapping laws;

 6                   f.      Whether Google’s practice of intercepting, receiving, or collecting

 7                           communications of user information, browsing history and web activity

 8                           violated any other state and federal tort laws;

 9                   g.      Whether Plaintiffs and Class members are entitled to declaratory and/or

10                           injunctive relief to enjoin the unlawful conduct alleged herein; and

11                   h.      Whether Plaintiffs and Class members have sustained damages as a result of

12                           Google’s conduct and if so, what is the appropriate measure of damages or

13                           restitution.

14           197.    Typicality: Plaintiffs’ claims are typical of the claims of other Class members, as all

15   members of the Classes were uniformly affected by Google’s wrongful conduct in violation of

16   federal and state law as complained of herein.

17           198.    Adequacy of Representation: Plaintiffs will fairly and adequately protect the interests

18   of the members of the Classes and have retained counsel that is competent and experienced in class

19   action litigation, including nationwide class actions and privacy violations. Plaintiffs and their counsel

20   have no interest that is in conflict with, or otherwise antagonistic to the interests of the other Class

21   members. Plaintiffs and their counsel are committed to vigorously prosecuting this action on behalf

22   of the members of the Classes, and they have the resources to do so.

23           199.    Superiority: A class action is superior to all other available methods for the fair and

24   efficient adjudication of this controversy since joinder of all members is impracticable. This proposed

25   class action presents fewer management difficulties than individual litigation and provides the benefits

26   of a single adjudication, economies of scale and comprehensive supervision by a single, able court.

27   Furthermore, as the damages individual Class members have suffered may be relatively small, the

28   expense and burden of individual litigation make it impossible for members of the Class to individually



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 1   redress the wrongs done to them. There will be no difficulty in management of this action as a class

 2   action.

 3             200.   California Law Applies to the Entirety of Both Classes: California’s substantive

 4   laws apply to every member of the Classes, regardless of where in the United States the Class member

 5   resides, or to which Class the Class member belongs. Defendant’s own Terms of Service explicitly

 6   states “California law will govern all disputes arising out of or relating to these terms, service specific

 7   additional terms, or any related services, regardless of conflict of laws rules. These disputes will be

 8   resolved exclusively in the federal or state courts of Santa Clara County, California, USA, and you and

 9   Google consent to personal jurisdiction in those courts.” By choosing California law for the resolution

10   of disputes covered by its Terms of Service, Google concedes that it is appropriate for this Court to

11   apply California law to the instant dispute to all Class members. Further, California’s substantive laws

12   may be constitutionally applied to the claims of Plaintiffs and the Class members under the Due Process

13   Clause, see U.S. CONST. amend. XIV, § 1, and the Full Faith and Credit Clause, see U.S. CONST. art.

14   IV, § 1, of the U.S. Constitution. California has significant contact, or significant aggregation of

15   contacts, to the claims asserted by the Plaintiffs and all Class members, thereby creating state interests

16   that ensure that the choice of California state law is not arbitrary or unfair. Defendant’s decision to

17   reside in California and avail itself of California’s laws, and to engage in the challenged conduct from

18   and emanating out of California, renders the application of California law to the claims herein

19   constitutionally permissible. The application of California laws to the Classes is also appropriate under

20   California’s choice of law rules because California has significant contacts to the claims of Plaintiffs

21   and the proposed Classes and California has the greatest interest in applying its laws here.

22             201.   Plaintiffs reserve the right to revise the foregoing class allegations and definitions based

23   on facts learned and legal developments following additional investigation, discovery, or otherwise.

24                                                   COUNTS
25   COUNT ONE: VIOLATION OF THE FEDERAL WIRETAP ACT, 18 U.S.C. § 2510, ET.
                                   SEQ.
26

27             202.   Plaintiffs hereby incorporate Paragraphs 1 through 201 as if fully stated herein.

28             203.   The Federal Wiretap Act, as amended by the Electronic Communications Privacy



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 1   Act of 1986, prohibits the intentional interception of the contents any wire, oral, or electronic

 2   communication through the use of a device. 18 U.S.C. § 2511.

 3           204.    The Wiretap Act protects both the sending and receipt of communications.

 4           205.    18 U.S.C. § 2520(a) provides a private right of action to any person whose wire, oral

 5   or electronic communication is intercepted.

 6           206.    Google’s actions in intercepting and tracking user communications while they were

 7   browsing the internet using a browser while in “private browsing mode” was intentional. On

 8   information and belief, Google is aware that it is intercepting communications in these

 9   circumstances and has taken no remedial action.

10           207.    Google’s interception of internet communications that the Plaintiffs and Class

11   members were sending and receiving while browsing the internet using a browser while in “private

12   browsing mode” was done contemporaneously with the Plaintiffs’ and Class members’ sending and

13   receipt of those communications.

14           208.    The communications intercepted by Google included “contents” of electronic

15   communications made from the Plaintiffs and Class members to Websites other than Google in the

16   form of detailed URL requests, webpage browsing histories and search queries which Plaintiffs sent

17   to those websites and for which Plaintiffs received communications in return from those websites.

18           209.    The transmission of data between Plaintiffs and Class members on the one hand and

19   the websites on which Google tracked and intercepted their communications on the other, without

20   authorization while they were in “private browsing mode” were “transfer[s] of signs, signals,

21   writing, . . . data, [and] intelligence of [some] nature transmitted in whole or in part by a wire, radio,

22   electromagnetic, photoelectronic, or photooptical system that affects interstate commerce[,]” and

23   were therefore “electronic communications” within the meaning of 18 U.S.C. § 2510(12).

24           210.    The following constitute “devices” within the meaning of 18 U.S.C. § 2510(5):

25                   a.      The computer codes and programs Google used to track the Plaintiffs’ and

26                           Class members’ communications while they were in “private browsing

27                           mode”;

28                   b.      The Plaintiffs’ and Class members’ browsers and mobile applications;



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 1                  c.      The Plaintiffs’ and Class members’ computing and mobile devices;

 2                  d.      Google’s web and ad servers;

 3                  e.      The web and ad-servers of websites from which Google tracked and

 4                          intercepted the Plaintiffs’ and Class members’ communications while they

 5                          were using a web browser in “private browsing mode”;

 6                  f.      The computer codes and programs used by Google to effectuate its

 7                          tracking and interception of the Plaintiffs’ and Class members’

 8                          communications while using a web browser while in “private browsing

 9                          mode”; and

10                  g.      The plan Google carried out to effectuate its tracking and interception of

11                          the Plaintiffs’ and Class members’ communications while using a web

12                          browser while in “private browsing mode.”

13          211.    Google, in its conduct alleged here, was not providing an “electronic

14   communication service,” as that term is defined in 18 U.S.C. § 2510(12) and is used elsewhere

15   in the Wiretap Act. Google was not acting as an Internet Service Provider (ISP). The conduct

16   alleged here does not arise from Google’s separate Gmail business of email communications

17   or Google’s separate GChat business of instant messages.

18          212.    Google was not an authorized party to the communication because the Plaintiffs and

19   Class members were unaware of Google’s redirecting of the referer URLs and webpage browsing

20   histories to Google itself, did not knowingly send any communication to Google, were browsing the

21   internet using a browser while in “private browsing mode,” when Google intercepted the

22   communications between the Plaintiffs and websites other than Google.          Google could not

23   manufacture its own status as a party to the Plaintiffs’ and Class members’ communications with

24   others by surreptitiously redirecting or intercepting those communications.

25          213.    As illustrated herein, the communications between the Plaintiffs and Class members

26   on the one hand, and websites on the other, were simultaneous to, but separate from, the channel

27   through which Google acquired the contents of those communications.

28



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 1          214.    The Plaintiffs and Class members did not consent to Google’s continued gathering

 2   of the user’s communications after enabling “private browsing mode on their web browser,” and

 3   thus never consented to Google’s interception of their communications. Indeed, Google represented

 4   to Plaintiffs, Class members and the public at large that users could “control . . . what information

 5   [they] share with Google” and “browse the web privately” by browsing in “private browsing mode.”

 6   Moreover, the communications intercepted by Google were plainly confidential, which is evidenced

 7   by the fact that Plaintiffs and Class members enabled “private browsing mode” in a manner

 8   consistent with Google’s own recommendations to prevent sharing of information with Google prior

 9   to accessing or communicating with the referer URLs and webpage browsing histories.

10          215.    Websites never consented to Google’s gathering of the user’s communications after

11   enabling private browsing mode on their web browser.           The interception by Google in the

12   aforementioned circumstances were unlawful and tortious.

13          216.    After intercepting the communications, Google then used the contents of the

14   communications knowing or having reason to know that such information was obtained through the

15   interception of electronic communications in violation of 18 U.S.C. § 2511(1)(a).

16          217.    As a result of the above actions and pursuant to 18 U.S.C. § 2520, the Court may

17   assess statutory damages to Plaintiffs and Class members; injunctive and declaratory relief; punitive

18   damages in an amount to be determined by a jury, but sufficient to prevent the same or similar

19   conduct by Google in the future, and a reasonable attorney’s fee and other litigation costs reasonably

20   incurred.

21    COUNT TWO: VIOLATION OF THE CALIFORNIA INVASION OF PRIVACY ACT
               (“CIPA”), CALIFORNIA PENAL CODE §§ 631 AND 632
22

23          218.    Plaintiffs hereby incorporate Paragraphs 1 through 201 as if fully stated herein.
24          219.    The California Invasion of Privacy Act (“CIPA”) is codified at Cal. Penal Code §§
25   630 to 638. The Act begins with its statement of purpose:
26                  The Legislature hereby declares that advances in science and
27                  technology have led to the development of new devices and
                    techniques for the purpose of eavesdropping upon private
28                  communications and that the invasion of privacy resulting from the



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                       continual and increasing use of such devices and techniques has
 1                     created a serious threat to the free exercise of personal liberties and
                       cannot be tolerated in a free and civilized society.
 2

 3   Cal. Penal Code § 630.
 4           220.      California Penal Code § 631(a) provides, in pertinent part:

 5                     Any person who, by means of any machine, instrument, or
                       contrivance, or in any other manner . . . willfully and without the
 6
                       consent of all parties to the communication, or in any unauthorized
 7                     manner, reads, or attempts to read, or to learn the contents or meaning
                       of any message, report, or communication while the same is in transit
 8                     or passing over any wire, line, or cable, or is being sent from, or
                       received at any place within this state; or who uses, or attempts to
 9                     use, in any manner, or for any purpose, or to communicate in any
                       way, any information so obtained, or who aids, agrees with, employs,
10
                       or conspires with any person or persons to lawfully do, or permit, or
11                     cause to be done any of the acts or things mentioned above in this
                       section, is punishable by a fine not exceeding two thousand five
12                     hundred dollars . . . .
13           221.      California Penal Code § 632(a) provides, in pertinent part:

14                     A person who, intentionally and without the consent of all parties to a
15                     confidential communication, uses an electronic amplifying or
                       recording device to eavesdrop upon or record the confidential
16                     communication, whether the communication is carried on among the
                       parties in the presence of one another or by means of a telegraph,
17                     telephone, or other device, except a radio, shall be punished by a fine
                       not exceeding two thousand five hundred dollars . . . .
18

19           222.      Under either section of the CIPA, a defendant must show it had the consent of all

20   parties to a communication.

21           223.      Google has its principal place of business in California; designed, contrived and

22   effectuated its scheme to track its users while they were browsing the internet from a browser while

23   in “private browsing mode”; and has adopted California substantive law to govern its relationship

24   with its users.

25           224.      At all relevant times, Google’s tracking and interceptions of the Plaintiffs’ and Class

26   members’ internet communications while using a browser in “private browsing mode” was without

27   authorization and consent from the Plaintiffs (and Class members) or Websites. The interception

28   by Google in the aforementioned circumstances were unlawful and tortious.



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 1           225.    Google’s non-consensual tracking of the Plaintiffs’ and Class members’ internet

 2   communications who were on their web browser or using a browser in “private browsing mode”

 3   was designed to attempt to learn at least some meaning of the content in the URLs.

 4           226.    The following items constitute “machine[s], instrument[s], or contrivance[s]” under

 5   the CIPA, and even if they do not, Google’s deliberate and admittedly purposeful scheme that

 6   facilitated its interceptions falls under the broad statutory catch-all category of “any other manner”:

 7                   a.      The computer codes and programs Google used to track the Plaintiffs’ and

 8                           Class members’ communications while they were in “private browsing

 9                           mode”;

10                   b.      The Plaintiffs’ and Class members’ browsers and mobile applications;

11                   c.      The Plaintiffs’ and Class members’ computing and mobile devices;

12                   d.      Google’s web and ad servers;

13                   e.      The web and ad-servers of websites from which Google tracked and

14                           intercepted the Plaintiffs’ and Class members’ communications while they

15                           were using a web browser in “private browsing mode”;

16                   f.      The computer codes and programs used by Google to effectuate its

17                           tracking and interception of the Plaintiffs’ and Class members’

18                           communications while using a web browser in “private browsing mode”;

19                           and

20                   g.      The plan Google carried out to effectuate its tracking and interception of

21                           the Plaintiffs’ and Class members’ communications while using a browser

22                           in “private browsing mode.”

23           227.    The data collected by Google constituted “confidential communications,” as that

24   term is used in Section 632, because Plaintiffs and Class members had objectively reasonable

25   expectations of privacy while browsing in “private browser mode.”

26           228.    Plaintiffs and Class members have suffered loss by reason of these violations,

27   including, but not limited to, violation of their rights to privacy and loss of value in their personally-

28   identifiable information.



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 1          229.    Pursuant to California Penal Code § 637.2, Plaintiffs and Class members have been

 2   injured by the violations of California Penal Code §§ 631 and 632, and each seek damages for the

 3   greater of $5,000 or three times the amount of actual damages, as well as injunctive relief.

 4      COUNT THREE: VIOLATIONS OF THE COMPREHENSIVE COMPUTER DATA
          ACCESS AND FRAUD ACT (“CDAFA”), CAL. PENAL CODE § 502 ET SEQ.
 5

 6          230.    Plaintiffs hereby incorporate Paragraphs 1 through 201 as if fully stated herein.

 7          231.    Cal. Penal Code § 502 provides: “For purposes of bringing a civil or a criminal action

 8   under this section, a person who causes, by any means, the access of a computer, computer system,

 9   or computer network in one jurisdiction from another jurisdiction is deemed to have personally

10   accessed the computer, computer system, or computer network in each jurisdiction.” Smart phone

11   devices with the capability of using web browsers are “computers” within the meaning of the statute.

12          232.    Google violated Cal. Penal Code § 502(c)(2) by knowingly accessing and without

13   permission taking, copying, analyzing, and using Plaintiffs’ and Class members’ data.

14          233.    Despite Google’s false representations to the contrary, Google effectively charged

15   Plaintiffs, Class Members, and other consumers and Google was unjustly enriched, by acquiring

16   their sensitive and valuable personal information without permission and using it for Google’s own

17   financial benefit to advance its advertising business. Plaintiffs and Class members retain a stake in

18   the profits Google earned from their personal browsing histories and other data because, under the

19   circumstances, it is unjust for Google to retain those profits

20          234.    Google accessed, copied, took, analyzed, and used data from Plaintiffs’ and Class

21   members’ computers in and from the State of California, where Google: (1) has its principal place

22   of business; and (2) used servers that provided communication links between Plaintiffs’ and Class

23   members’ computers and Google, which allowed Google to access and obtain Plaintiffs’ and Class

24   members’ data.     Accordingly, Google caused the access of Plaintiffs’ and Class members’

25   computers from California, and is therefore deemed to have accessed Plaintiffs’ and Class

26   members’ computers in California.

27          235.    As a direct and proximate result of Google’s unlawful conduct within the meaning

28   of Cal. Penal Code § 502, Google has caused loss to Plaintiffs and Class members and has been



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 1   unjustly enriched in an amount to be proven at trial.

 2           236.    Plaintiffs, on behalf of themselves and Class members, seek compensatory damages

 3   and/or disgorgement in an amount to be proven at trial, and declarative, injunctive, or other

 4   equitable relief.

 5           237.    Plaintiffs and Class members are entitled to punitive or exemplary damages pursuant

 6   to Cal. Penal Code § 502(e)(4) because Google’s violations were willful and, upon information and

 7   belief, Google is guilty of oppression, fraud, or malice as defined in Cal. Civil Code § 3294.

 8           238.    Plaintiffs and the Class members are also entitled to recover their reasonable

 9   attorneys’ fees pursuant to Cal. Penal Code § 502(e).

10                             COUNT FOUR: INVASION OF PRIVACY
11
             239.    Plaintiffs hereby incorporate Paragraphs 1 through 201 as if fully stated herein.
12
             240.    The right to privacy in California’s constitution creates a right of action against
13
     private entities such as Google.
14
             241.    Plaintiffs’ and Class members’ expectation of privacy is deeply enshrined in
15
     California’s Constitution. Article I, section 1 of the California Constitution provides: “All people
16
     are by nature free and independent and have inalienable rights. Among these are enjoying and
17
     defending life and liberty, acquiring, possessing, and protecting property and pursuing and
18
     obtaining safety, happiness, and privacy.” The phrase “and privacy” was added by the “Privacy
19
     Initiative” adopted by California voters in 1972.
20
             242.    The phrase “and privacy” was added in 1972 after voters approved a proposed
21
     legislative constitutional amendment designated as Proposition 11. Critically, the argument in favor
22
     of Proposition 11 reveals that the legislative intent was to curb businesses’ control over the
23
     unauthorized collection and use of consumers’ personal information, stating:
24
                     The right of privacy is the right to be left alone…It prevents
25                   government and business interests from collecting and stockpiling
                     unnecessary information about us and from misusing information
26
                     gathered for one purpose in order to serve other purposes or to
27                   embarrass us. Fundamental to our privacy is the ability to control
                     circulation of personal information. This is essential to social
28



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                    relationships and personal freedom.58
 1

 2           243.   The principal purpose of this constitutional right was to protect against unnecessary
 3   information gathering, use, and dissemination by public and private entities, including Google.
 4           244.   To plead a California constitutional privacy claim, a plaintiff must show an invasion
 5   of (1) a legally protected privacy interest; (2) where the plaintiff had a reasonable expectation of
 6   privacy in the circumstances; and (3) conduct by the defendant constituting a serious invasion of
 7   privacy.
 8           245.   As described herein, Google has intruded upon the following legally protected
 9   privacy interests:
10                  a.      The Federal Wiretap Act as alleged herein;
11                  b.      The California Wiretap Act as alleged herein;
12                  c.      A Fourth Amendment right to privacy contained on personal computing
13                          devices, including web-browsing history, as explained by the United States
14                          Supreme Court in the unanimous decision of Riley v. California;
15                  d.      The California Constitution, which guarantees Californians the right to
16                          privacy;
17                  e.      Google’s Privacy Policy and policies referenced therein and other public
18                          promises it made not to track or intercept the Plaintiffs’ and Class members’
19                          communications or access their computing devices and web-browsers
20                          while browsing in “private browsing mode.”
21           246.   Plaintiffs and Class members had a reasonable expectation of privacy under the
22   circumstances in that Plaintiffs and Class members could not reasonably expect Google would
23   commit acts in violation of federal and state civil and criminal laws; and Google affirmatively
24   promised users (including Plaintiffs and Class members) it would not track their communications
25   or access their computing devices or web-browsers while they were using a web browser while in
26   “private browsing mode.”
27
     58
28    BALLOT PAMP., PROPOSED STATS. & AMENDS. TO CAL. CONST. WITH ARGUMENTS TO VOTERS,
     GEN. ELECTION *26 (Nov. 7, 1972).


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 1          247.    Google’s actions constituted a serious invasion of privacy in that it:

 2                  a.      Invaded a zone of privacy protected by the Fourth Amendment, namely the

 3                          right to privacy in data contained on personal computing devices, including

 4                          web search and browsing histories;

 5                  b.      Violated several federal criminal laws, including the Wiretap Act;

 6                  c.      Violated dozens of state criminal laws on wiretapping and invasion of

 7                          privacy, including the California Invasion of Privacy Act;

 8                  d.      Invaded the privacy rights of hundreds of millions of Americans (including

 9                          Plaintiffs and class members) without their consent;

10                  e.      Constituted the unauthorized taking of valuable information from hundreds

11                          of millions of Americans through deceit; and

12                  f.      Further violated Plaintiffs’ and Class members’ reasonable expectation of

13                          privacy via Google’s review, analysis, and subsequent uses of Plaintiffs’

14                          and Class members’ private and other browsing activity that Plaintiffs and

15                          Class members considered sensitive and confidential.

16          248.    Committing criminal acts against hundreds of millions of Americans constitutes an

17   egregious breach of social norms that is highly offensive.

18          249.    The surreptitious and unauthorized tracking of the internet communications of

19   millions of Americans, particularly where, as here, they have taken active (and recommended)

20   measures to ensure their privacy, constitutes an egregious breach of social norms that is highly

21   offensive.

22          250.    Google’s intentional intrusion into Plaintiffs’ and Class members’ internet

23   communications and their computing devices and web-browsers was highly offensive to a

24   reasonable person in that Google violated federal and state criminal and civil laws designed to

25   protect individual privacy and against theft.

26          251.    The taking of personally-identifiable information from hundreds of millions of

27   Americans through deceit is highly offensive behavior.

28          252.    Secret monitoring of web private browsing is highly offensive behavior.



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 1            253.   Following Google’s unauthorized interception of the sensitive and valuable personal

 2   information, the subsequent analysis and use of that private browsing activity to develop and refine

 3   profiles on Plaintiffs, Class members, and consumers violated their reasonable expectations of

 4   privacy.

 5            254.   Wiretapping and surreptitious recording of communications is highly offensive

 6   behavior.

 7            255.   Google lacked a legitimate business interest in tracking users while browsing the

 8   internet on a browser while in “private browsing mode,” without their consent.

 9            256.   Plaintiffs and Class members have been damaged by Google’s invasion of their

10   privacy and are entitled to just compensation and injunctive relief.

11                         COUNT FIVE: INTRUSION UPON SECLUSION
12
              257.   Plaintiffs hereby incorporate Paragraphs 1 through 201 as if fully stated herein.
13
              258.   Plaintiffs asserting claims for intrusion upon seclusion must plead (1) intrusion into
14
     a private place, conversation, or matter; (2) in a manner highly offensive to a reasonable person.
15
              259.   In carrying out its scheme to track and intercept Plaintiffs’ and Class members’
16
     communications while they were using a browser while in “private browsing mode” in violation of
17
     its own privacy promises, Google intentionally intruded upon the Plaintiffs’ and Class members’
18
     solitude or seclusion in that it effectively placed itself in the middle of conversations to which it
19
     was not an authorized party.
20
              260.   Google’s tracking and interception were not authorized by the Plaintiffs and Class
21
     members, the Websites with which they were communicating, or even the Plaintiffs’ and Class
22
     members’ web-browsers.
23
              261.   Google’s intentional intrusion into their internet communications and their
24
     computing devices and web-browsers was highly offensive to a reasonable person in that they
25
     violated federal and state criminal and civil laws designed to protect individual privacy and against
26
     theft.
27
              262.   The taking of personally-identifiable information from hundreds of millions of
28



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 1   Americans through deceit is highly offensive behavior, particularly where, as here, Plaintiffs and

 2   Class members took active (and recommended) measures to ensure their privacy.

 3          263.    Secret monitoring of web private browsing is highly offensive behavior.

 4          264.    Wiretapping and surreptitious recording of communications is highly offensive

 5   behavior.

 6          265.    Public polling on internet tracking has consistently revealed that the overwhelming

 7   majority of Americans believe it is important or very important to be “in control of who can get

 8   information” about them; to not be tracked without their consent; and to be in “control[] of what

 9   information is collected about [them].” The desire to control one’s information is only heightened

10   while a person is browsing the internet in “private browsing mode.”

11          266.    Plaintiffs and the Class members have been damaged by Google’s invasion of

12   their privacy and are entitled to reasonable compensation including but not limited to disgorgement

13   of profits related to the unlawful internet tracking.

14                              COUNT SIX: BREACH OF CONTRACT
15
            267.    Plaintiffs hereby incorporate Paragraphs 1 through 201 as if fully stated herein.
16
            268.    Google’s relationship with its users is governed by the Google Terms of Service,
17
     the Google Chrome and Chrome OS Additional Terms of Service, and the Chrome Privacy Notice,
18
     which incorporate and/or should be construed consistent with the Privacy Policy, the “Search &
19
     Browse Privately” page, and the Incognito Screen.
20
            269.    The Chrome Privacy Notice promises Plaintiffs and Class members that Google
21
     does not collect or use private browsing communications, including by explaining that “[y]ou can
22
     limit the information Chrome stores on your system by using incognito mode” and that, within
23
     Incognito mode, “Chrome won’t store certain information, such as: Basic browsing history
24
     information like URLs, cached paged text, or IP addresses of pages linked from the websites you
25
     visit [and] Snapshots of pages that you visit.”
26
            270.    Google breached these promises.
27
            271.    The Privacy Policy, the Incognito Screen, and the “Search & Browse Privately”
28



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 1   page similarly promise that users can control Google’s collection and use of their browsing data,

 2   including by enabling a private browsing mode such as Incognito mode, and that Google would

 3   not collect and use private browsing data.

 4          272.     Google breached these promises.

 5          273.     Plaintiffs and Class members fulfilled their obligations under the relevant contracts

 6   and are not in breach of any.

 7          274.     As a result of Google’s breach(es), Google was able to obtain the personal property

 8   of Plaintiffs and Class members and earn unjust profits.

 9          275.     Plaintiffs and Class Members also did not receive the benefit of the bargain for

10   which they contracted and for which they paid valuable consideration in the form of the personal

11   information they agreed to share, which has ascertainable value to be proven at trial.

12          276.     Plaintiffs, on behalf of themselves and Class members, seek compensatory damages,

13   consequential damages, and/or non-restitutionary disgorgement in an amount to be proven at trial,

14   and declarative, injunctive, or other equitable relief.

15     COUNT SEVEN: CA UNFAIR COMPETITION LAW (“UCL”), CAL. BUS. & PROF.
                             CODE § 17200 ET SEQ.
16

17          277.     Plaintiffs hereby incorporate Paragraphs 1 through 201 as if fully stated herein.

18          278.     The UCL prohibits any “unlawful, unfair, or fraudulent business act or practice and

19   unfair, deceptive, untrue or misleading advertising.” Cal. Bus. & Prof. Code § 17200 (UCL). By

20   engaging in the practices aforementioned, Google has violated the UCL.

21          279.     Google’s “unlawful” acts and practices include its violation of the Federal Wiretap

22   Act, 18 U.S.C. § 2510, et seq.; the California Invasion of Privacy Act, Cal. Penal Code §§ 631 and

23   632; the California Computer Data Access and Fraud Act, Cal. Penal Code § 502, et seq.; Invasion

24   of Privacy; Intrusion Upon Seclusion; Breach of Contract; and California Business & Professions

25   Code § 22576.

26          280.     Google’s conduct violated the spirit and letter of these laws, which protect property,

27   economic and privacy interests and prohibit unauthorized disclosure and collection of private

28   communications and personal information.



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 1          281.    Google’s “unfair” acts and practices include its violation of property, economic and

 2   privacy interests protected by the statutes identified in paragraph 279. To establish liability under

 3   the unfair prong, Plaintiffs and Class members need not establish that these statutes were actually

 4   violated, although the claims pleaded herein do so.

 5          282.    Plaintiffs and Class members have suffered injury-in-fact, including the loss of

 6   money and/or property as a result of Google’s unfair and/or unlawful practices, to wit, the

 7   unauthorized disclosure and taking of their personal information which has value as demonstrated

 8   by its use and sale by Google. Plaintiffs and Class members have suffered harm in the form of

 9   diminution of the value of their private and personally identifiable data and content.

10          283.    Google’s actions caused damage to and loss of Plaintiffs’ and Class members’

11   property right to control the dissemination and use of their personal information and

12   communications.

13          284.    Google reaped unjust profits and revenues in violation of the UCL. This includes

14   Google’s profits and revenues from their targeted-advertising and improvements of Google’s other

15   products. Plaintiffs and the Class seek restitution and disgorgement of these unjust profits and

16   revenues.

17                                        PRAYER FOR RELIEF

18          WHEREFORE, Plaintiffs respectfully request that this Court:

19          A.      Certify this action is a class action pursuant to Rule 23 of the Federal Rules of Civil

20   Procedure;

21          B.      Appoint Plaintiffs to represent the Classes;

22          C.      Appoint undersigned counsel to represent the Classes;

23          D.      For all Counts, award compensatory damages to Plaintiffs and the Class members

24   against Defendant for all damages sustained as a result of Defendant’s wrongdoing, in an amount

25   to be proven at trial, including interest thereon;

26          E.      For Counts I and II, award statutory damages;

27          F.      Award nominal damages to Plaintiffs and the Class members against Defendant;

28          G.      Non-restitutionary disgorgement of all of Defendant’s profits that were derived, in



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 1   whole or in part, from Google’s interception and subsequent use of Plaintiffs’ communications,

 2   including under Counts I, II, III, IV, V, and VI;

 3          H.      For Counts I, II, III, IV, and V, award punitive damages.

 4          I.      Ordering Defendant to disgorge revenues and profits wrongfully obtained;

 5          J.      For all Counts, permanently restrain Defendant, and its officers, agents, servants,

 6   employees and attorneys, from intercepting, tracking, or collecting communications after class

 7   members used a browser while in “private browsing mode,” or otherwise violating its policies

 8   with users, and award all other appropriate injunctive and other equitable relief;

 9          K.      Award Plaintiffs and the Class members their reasonable costs and expenses

10   incurred in this action, including attorneys’ fees and expert fees; and

11          L.      Grant Plaintiffs and the Class members such further relief as the Court deems

12   appropriate.

13                                       JURY TRIAL DEMAND

14          The Plaintiffs demand a trial by jury of all issues so triable.

15

16   Dated: February 28, 2023              BOIES SCHILLER FLEXNER LLP

17
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